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           EXHIBIT 5
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                                In The Matter Of:
                                TAGNETICS, INC.




                                 October 18, 2019




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                     UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT DAYTON

                                               *      Case No. 19-30822
     IN RE:                                    *
                                               *
     TAGNETICS, INC.               *
                                   *                  October 18, 2019
     * * * * * * * * * * * * * * * *
                          TRANSCRIPT OF HEARING
                  BEFORE THE HONORABLE GUY R. HUMPHREY
                     UNITED STATES BANKRUPTCY JUDGE


     APPEARANCES:
     STEPHEN B. STERN, ESQ.
     ROBERT R. KRACHT, ESQ.
     For Tagnetics, Inc.
     KENNETH W. KAYSER
     RONALD E. EARLEY
     JONATHAN HAGER
     Petitioning Creditors




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 1                 (Proceedings begin at 9:34 a.m.)

 2                 THE CLERK:       The United States Bankruptcy

 3   Court for the Southern District of Ohio is now in

 4   session until adjournment this 18th day of October

 5   2019, the Honorable Guy R. Humphrey presiding.                     You may

 6   be seated.

 7                 On the docket for this morning is Case Number

 8   19-30822, Tagnetics, Incorporated.                May the Court

 9   please have appearances, beginning with counsel for

10   Tagnetics?

11                 MR. STERN:       Good morning, Your Honor.

12   Stephen Stern on behalf of Tagnetics.

13                 THE COURT:       Good morning, Mr. Stern.

14                 MR. KRACHT:       Your Honor, Robert Kracht, from

15   McCarthy Lebit, in Cleveland, Ohio counsel for

16   Tagnetics.

17                 THE COURT:       Good morning, Mr. Kracht.

18                 MR. KRACHT:       Thank you.

19                 THE CLERK:       Gentlemen, each stand and state

20   your full name for the record.

21                 DR. KAYSER:       My name is Kenneth Kayser.

22                 THE COURT:       Good morning, Mr. Kayser.

23                 MR. EARLEY:       Ronald Earley.

24                 THE COURT:       Good morning, Mr. Earley.

25                 MR. HAGER:       This is Jon Hager.

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1                  THE COURT:      Good morning, Mr. Hager.             Okay, I

2    think we're here for the hearing, evidentiary hearing,

3    on the motion to enforce settlement, filed by

4    Tagnetics, and the response of the Petitioning

 5   Creditors, Mr. Kayser, Mr. Earley and Mr. Hager.

 6                 We reviewed everything extensively, I think,

 7   from that perspective.           We're ready to go, but I think

 8   before we get started, I thought we would go over some

 9   preliminary matters, make sure we're all on the same

10   page on everything.          But before I get into my

11   preliminary matters, are there any preliminary matters,

12   which the parties wish to address with the Court?

13                 MR. STERN:       Your Honor, are we going to have

14   the opportunity for a brief opening statement after the

15   preliminary matters?

16                 THE COURT:       Oh, yes, yes.

17                 MR. STERN:       Then nothing at this time.

18                 THE COURT:       Absolutely.       I just wanted to

19   kind of lay the groundwork for everybody, particularly

20   since we have prose parties.                I like to try to lay the

21   groundwork as best as possible, so everybody

22   understands as best as possible, you know, how

23   hopefully things will operate during the course of the

24   day today.

25                 Anything you, the prose Petitioning

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1    Creditors, wish to raise with the Court at this time,

 2   before I get into my preliminary matters?

 3                 DR. KAYSER:       No, sir.

4                  MR. EARLEY:       No, thanks.

 5                 THE COURT:      All right.       Since Tagnetics has

 6   filed a motion, we'll have Tagnetics -- after opening

 7   statements, we'll have Tagnetics present its case.

 8   They may call witnesses.            They will first conduct

 9   examination of any witnesses they have.                  We call that

10   direct examination.          And then the Petitioning Creditors

11   will have the right to conduct any cross-examination of

12   those witnesses, and then Tagnetics will have the right

13   to conduct what we call redirect examination, if they

14   want, questions based upon any questions you may have

15   asked them, and then you would be entitled to conduct

16   any cross-examination of those witnesses.

17                 Let's -- to the extent possible, let's avoid

18   going back over the same ground we've already gone

19   over, you know.         And then after they complete their

20   case, after Tagnetics completes its case, then the

21   Petitioning Creditors will have an opportunity to

22   present your cases.

23                 You each, in effect, have your own case, and

24   you can each call whatever witnesses you want in your

25   own cases.       You may testify in your own cases.

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 1   Fortunately or unfortunately, this is not the first

 2   time I've had prose parties in my courtroom.                     It

 3   creates an awkward situation                 it makes it more

 4   awkward for hearings, because if you want to testify in

 5   your own case, what you have to do is get in the

 6   witness box, and in effect give a narrative, explain,

 7   you know, what statements you want to state that you

 8   think, you know, from an evidentiary factual viewpoint

 9   support your position.

10                 If an objection is stated during your

11   testimony, you need to make sure you stop and let me

12   rule on the objection, and then after I rule on the

13   objection, then you can proceed in accordance with my

14   ruling on the objection.

15                 You will not be able to ask each other

16   questions.       In effect, Mr. Kayser can't put Mr. Hager

17   on the stand and stand at the lectern and ask

18   questions, because unless any of you are lawyers -- my

19   understanding, none of you are lawyers; is that

20   correct?

21                 DR. KAYSER:       Yes.

22                 THE COURT:       That would constitute the

23   unauthorized practice of law.              So you can testify in

24   your own cases, but you can't examine each other in

25   your own cases, and you can have, you know, each other

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1    testify in your cases, but again, you're going to have

2    to get in the witness box and give a narrative of what

3    you think support the cases.

4                  Let's see if there's anything -- are there

 5   any questions on how that will operate?

 6                 DR. KAYSER:       Yes, Your Honor.         We had

 7   intended to each call each other as witnesses and ask

 8   the questions that apply to us all.

 9                 THE COURT:       I kind of thought that might be

10   the case from the way you filed your witness list, but

11   you cannot do that.          That is the unauthorized practice

12   of law.      You will not be able to do that.               You may feel

13   it puts you at a disadvantage, but you make conscious

14   decisions to hire lawyers or not to hire lawyers.

15                 DR. KAYSER:       Understood.

16                 THE COURT:       And because you didn't hire a

17   lawyer, I cannot -- I can't let you guys serve as

18   lawyers.      You need to go to law school, pass a bar

19   exam, to do that.          And since you haven't done that,

20   you're not entitled.           That's the law.        That's the law

21   in Ohio.

22                 DR. KAYSER:       Yeah.     We're okay with it.          We

23   do understand.         Your Honor, I'm sorry to ask for a

24   clarification, but if each of us can call witnesses,

25   can we -- but we can't call each other as witnesses?

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 1                 THE COURT:       You can call each other as

 2   witnesses, yes.         You can do that.         You each can get up

 3   there and testify in what we call a form of a

 4   narrative, stating your -- you know, what facts you

 5    think support each other's cases, but one of you can't

 6   be at the lectern asking another questions to elicit

 7    that testimony.        That's serving as a lawyer, and that's

 8    the unauthorized practice of law, and you can't do it.

 9                 DR. KAYSER:       Understood.       Your Honor, one

10    question.      How do we present the exhibits then?

11                  THE COURT:      You can just say -- well, you can

12    have the exhibits in the witness box, and then

13    describe, okay, you know, I'm looking at, and you have

14    to make sure that Tagnetics' counsel have copies of

15    those exhibits, so they know what you're testifying

16    about.     And you can say, Your Honor, I'm looking at an

17    email dated July 20th, 2019, it's from me to Mr. Stern,

18    you know, and then that way you identify the document.

19    And then that's how.          And then when you're done you can

20    move for admission of those exhibits, and that's how

21    you would introduce exhibits.

22                  DR. KAYSER:       We'll do our best.

23                  THE COURT:       I understand.       It's -- you know,

24    it's -- that's what the law is.               I have to enforce the

25    law and apply the law, and that's the risk you take in

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 1    the situation you're in, representing yourselves on a

 2   prose basis.

 3                 When we get done with all the evidentiary

 4   presentations, you'll be able to make closing

 5    arguments.      That's where you have the opportunity to

 6    stand at the lectern and argue why the facts, which

 7    have been elicited today, support your legal position.

 8                 Now, with respect to the exhibits, I think

 9    there's some overlap with the exhibits.                  It's from a

10    Court perspective, if you both -- let's say you both

11    have July 20th, 2019 email as an exhibit, the Court

12    finds it easier just to use one of those set of

13    exhibits.      They're duplicative on each side, rather

14    than referring -- using two different copies of the

15    same exhibit.

16                  To that extent, the Court's preference would

17    be to use Tagnetics' exhibits to the extent they're

18    duplicate,     just because they're a little bit easier for

19    us to follow as they're more separate emails, for

20    instance.      But that's the only reason.              From

21    administrative ease purposes, that would work better

22    from the Court's perspective.

23                  So if Tagnetics has introduced, you know, the

24    July 20th email, my preference is if you're going to

25    refer to the July 20th email, just to use Tagnetics'

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 1   exhibit for that, so we don't have to, like I say, have

 2   duplicative same exhibits.             And if Tagnetics has

 3    introduced a document already, and particularly if I've

 4    admitted it, you don't need to go through the process

 5    of identifying it and having it admitted.                  It's already

 6    been admitted.        You can use that.         We don't need to go

 7    over that groundwork with an exhibit that's already

 8    been admitted.

 9                 Any other questions before we get started

10    with opening statements?

11                 MR. KRACHT:        Your Honor, I just want to note,

12    one of our exhibits is a composite exhibit of all of

13    what we believe to be the relevant emails and it's

14    actually the A.        Is that going to pose

15                  THE COURT:      No, that's fine.         I think that's

16    -- you know, as long as each one gets admitted or the

17    whole total gets admitted, that's fine.

18                  MR. KRACHT:       And if for some reason we would

19    have say one or two excluded, that could be removed

20    from the exhibit at the time.

21                  THE COURT:      Yeah, I think that's fine.

22                  MR. KRACHT:       Thank you.

23                  THE COURT:      Any questions from the

24    Petitioning Creditors?           No, okay.      Great.     Why don't we

25    have opening statements then?              Now, on the opening

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 1   statements -- go ahead and take the lectern, Mr. Stern.

2    I just want to ask, when you are making opening

 3   statements or talking to Court, not as a witness,

4    please take the lectern.            Our recording system works

 5   much better that way.           Now, if you're just making an

 6   objection to a witness's testimony, you can just stand

 7   up and make your objection from your seat, but

 8   generally making presentations and lengthier

 9    discussions with the Court, my preference is for you to

10    stand at the lectern.          When you're testifying, you'll

11    be in the witness box.

12                  I'm trying to think if there was something

13    related to that.         Well, that's all I can think of.               I'm

14    sorry, Mr. Stern.         One other thing we could do, let's -

15    - what I'd like to do is have Ms. Behnken swear in the

16    three Petitioning Creditors and then we'll take a five-

17    minute break and you can make your opening statements.

18                  The reason I'd like the Petitioning Creditors

19    to be sworn is what we have found after, like I said,

20    unfortunately having a number of prose parties in the

21    courtroom before, it's difficult for them to separate

22    out what's a legal argument or a statement at the

23    lectern, versus testimony, and so it's easier for us

24    just to have them under oath for everything they state,

25    and that way we don't have to worry about well, was

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1    that sworn testimony or not sworn testimony.                    So

2    anything you state, we're going to, in effect, treat as

3    sworn testimony, and swear you in now.

4                  THE CLERK:       Your Honor, are you okay with

 5    swearing all of them at the same time?

 6                 THE COURT:       Yeah, that's fine.

 7                 THE CLERK:       Gentlemen, please stand.

 8                  (Petitioning Creditors sworn.)

 9                 THE CLERK:       Thank you.

10                 THE COURT:       Okay, let's take a five-minute

11    recess and then you can make your opening statements.

12                  THE CLERK:      All rise.      Court is in recess.

13                  (Off the record from 9:50 a.m. until 9:58

14    a.m.)

15                  THE CLERK:      Court is again in session.             You

16    may be seated.

17                  THE COURT:      Okay.     I wanted to clarify one

18    thing.     Now, we have to treat each of the Petitioning

19    Creditors' cases, in effect, as a separate case.                     Mr.

20    Kayser, if you want to call Mr. Hager or Mr. Earley in

21    your case, you can, and you can examine them from the

22    lectern.      And Mr. Earley, you can do the same with Mr.

23    Kayser and Mr. Hager.           And same with Mr. Hager, he can

24    call Mr. Kayser and Mr. Earley, and examine them.

25    That's -- a prose party can do that.                  That's not the

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 1   unauthorized practice of law.

 2                 Now, Mr. Kayser though can't question

 3   witnesses in Mr. Hager's case or Mr. Earley's case, and

 4   vice versa.

 5                 DR. KAYSER:       Okay.

 6                 THE COURT:       So Mr. Kayser, if you want to

 7    examine Mr. Earley and Mr. Hager in your case, you may

 8    do so, and Mr. Earley, you can do the same with the

 9    other two, and Mr. Hager, you can do the same with the

10    other two.      You just can't serve as lawyers in anybody

11    else's case.       Okay.     I wanted to clarify that.            We're

12    all on the same page with that?

13                  DR. KAYSER:       Yes, Your Honor.

14                  THE COURT:      Great.     We ready for opening

15    statements?

16                  MR. STERN:      Yes, Your Honor.

17                  THE COURT:      You may proceed, Mr. Stern, and

18    then after Mr. Stern makes the opening statement for

19    Tagnetics, each of you can make your opening

20    statements, if you wish.

21                  MR. STERN:      Good morning, Your Honor.             May it

22    please the Court, I am Stephen Stern on behalf of the

23    alleged Debtor, Tagnetics, Inc.               We are here today on

24    our motion to enforce the settlement agreement.                     We

25    think the terms are pretty clearly set forth.                    The

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 1   pertinent email is a series of emails that I refer to

 2    in the motion as our term sheet that were exchanged on

 3   July 26, 2019, and it lays out very clearly the terms

 4    of the -- the key terms of the agreement.

 5                 And as that email string reflects, the

 6    alleged Creditors, not once, not twice, but three times

 7    confirmed in writing the terms of that -- those key

 8    terms of the settlement agreement, and this was

 9    communicated to the Court, that we have an agreement in

10    place.

11                  It was only after the fact, when we exchanged

12    the written settlement agreement, where we learned

13    about these alleged concerns that they had, clearly

14    going beyond the scope of the payment terms that were

15    set forth, and the phrase -- key phrase in the term

16    sheet says "full mutual releases, no carve-outs."                     And

17    as the Creditors are seeking, there's a number of

18    carve-outs that they are seeking.

19                  One thing that I would like to point out, and

20    if there was any confusion when looking at our brief, I

21    refer to 123, there's a reference to an email in the

22    brief on July 26.         It is on Page 6 of our brief, where

23    we copied the chart of an email that was sent from Mr.

24    Hager to me on July 26 at 4:42 on there.                  That was not

25    attached to our brief.           That was our exhibits, Exhibit

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 1    I .   That was added after the fact.             Exhibits that we

 2   put for our exhibits today do mirror the exhibits we

 3   had attached to our motion, except Exhibit I is the

 4   only added one, and that is the one that contains that

 5   missing email there, in the event there's any confusion

 6    on the part of the Court when looking through the

 7    brief.     My apologies about that oversight.

 8                 But as that third email reflects, in caps it

 9    says,    "Total settlement," with those numbers, and yet

10    the alleged Creditors are seeking additional payments

11    beyond that total settlement figure, and again seeking

12    exceptions to the full mutual releases, no carve-outs.

13                  Those discussions happened over a period of

14    time, and those emails reflect, I repeatedly encouraged

15    the alleged Creditors to seek counsel, to advise them

16    on this process.         And just to be perfectly frank, was

17    quite surprised when seeing the exceptions and the

18    additional payments that they were seeking after the

19    fact.

20                  We think the settlement agreement, which was

21    -- I think it's Exhibit C -- Exhibit B, with the

22    exhibits, Exhibit 2, to the motion, accurately sets

23    forth the key terms of the agreement, and we're ready

24    to proceed with the evidence that supports that.

25                  Thank you, Your Honor.

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 1                 THE COURT:       Thank you, Mr. Stern.           Okay.      One

 2    of you want to at least start?

 3                 MR. EARLEY:       Yes, sir, and I'll give the

 4    opening statement for all three of us.

 5                 THE COURT:       Okay.

 6                 MR. EARLEY:       Your Honor, the Petitioning

 7    Creditors intend to show that the terms of the proposed

 8    settlement agreement offered on August 14th in no way

 9    resembles the proposal forwarded -- put forth by the

10    Petitioning Creditors on July 20th, 2019.

11                  We also will show that the negotiations

12    between Tagnetics and the Petitioning Creditors between

13    July 20 and July 26 only focused on cash payments, and

14    not any other term or terms of the agreement.                    The

15    evidence will show a significant difference in the

16    proposed settlement agreement, once Tagnetics secured

17    the postponement of the scheduled trial.

18                  THE COURT:      Thank you.       I will accept that as

19    the opening statement of Mr. Earley.                 Mr. Kayser, do

20    you wish to state anything different?                 You don't need

21    to state the same thing Mr. Earley just stated.                     Is

22    there anything additional you --

23                  DR. KAYSER:       There's nothing more I need to

24    state until testimony.

25                  THE COURT:      Okay.     So are you adopting Mr.

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 1   Earley's opening statement as your opening statement?

 2                 DR. KAYSER:       Yes.

 3                 THE COURT:       Okay, thank you.         Same questions

 4    for you, Mr. Hager.

 5                 MR. HAGER:       I'll adopt his statement.

 6                 THE COURT:       This all goes back to the fact

 7    that you can't be each other's attorneys, and -- but I

 8    don't want to cover the same ground if we don't have to

 9    cover the same ground on this stuff.                Okay.     Mr. Stern,

10    do you have any witnesses you wish to call?

11                 MR. STERN:       Yes, Your Honor.         I'll be the

12    testifying witness and Mr. Kracht will examine me.

13                  THE COURT:      Okay.

14                  MR. STERN:      I'm just going to take up with me

15    the binder of exhibits.

16                  THE COURT:      That's fine.        I do have one

17    point.     As you referenced Exhibit I, which you said was

18    not attached to your motion.              It does not appear that

19    it's in my booklet either, so

20                  MR. STERN:      Really?      May I take a look at

21    that?

22                  THE COURT:      Yeah, absolutely, please.             Ms.

23    Behnken.

24                  MR. STERN:      Does your binder have Exhibit I?

25    Okay.

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 1                 THE COURT:       Okay, thank you.

 2                 THE CLERK:       Sir, please stand.          Raise your

 3    right hand.

 4                 MR. STERN:       My apologies.

 5                      STEPHEN STERN, WITNESS, SWORN

 6                  THE CLERK:      Please state your full name for

 7    the record.

 8                  MR. STERN:      Stephen with a P-H, Stern, S-T-E-

 9    R-N.

10                  THE CLERK:      Thank you.

11                  DIRECT EXAMINATION OF STEPHEN STERN

12    BY MR. KRACHT:

13    Q       Mr. Stern, you're one of the lawyers for

14    Tagnetics in this case, correct?

15    A       I am.

16    Q       Can you provide some background of your nature

17    of your practice?

18    A       Sure.     I was admitted to practice in 1996, after

19    I graduated from GW Law School.               I forget whether I was

20    admitted in October, November, December, but that was

21    when I was first admitted to practice, and have been

22    practicing for approximately 23 years.

23            My practice is litigation oriented.                 The early

24    part of my career did a lot of employment counsel

25    litigation and then over the last I'd say probably 15,

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 1   16 years, a good amount of commercial and business

 2   litigation, in courts.           And along the way, negotiated

 3   many, many settlements.

 4   Q        Do you practice in the area of bankruptcy at

 5   all?

 6   A        I do not.

 7   Q        So this is your first foray into that?

 8   A        It is.

 9    Q       But you do -- would you say that the majority of

10    your cases in your litigation practice go to trial, or

11    are they settled?

12    A       Trial is definitely the exception.                Most are

13    either resolved through settlement negotiations or on

14    motions.

15    Q       Okay.     And so the settlement that we're talking

16    about today in this case that we're seeking to enforce,

17    is that something that is unique in your experience of

18    how a settlement was negotiated?

19    A       No.     The only unique part I'd say is that this

20    happened while I was on vacation, the discussions.

21    Q       What role did you play in connection with the

22    settlement negotiations with the Petitioning Creditors?

23    A       Sure.     I forgot the exact date.            I can refer to

24    the exhibits, but we -- that week -- I guess the week

25    before I went on vacation, had some discussions.                      I


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1    forgot whether it was with Mr. Kayser or Mr. Earley,

2    opening the door -- it may have just been the email,

 3   when we first started communicating about the

4    possibility of having settlement discussions.

 5            They happened on and off over that week, leading

 6   up to the 16th.         There was some discussions that were -

 7    - or demands that were made by the alleged Creditors,

 8    flat out rejected those.           Then they made some -- then

 9    we made some counteroffers.             Those were flat out

10    rejected, and then the discussions really picked up in

11    earnest the 24th, 25th and 26th.                Really, the 26th is

12    the key day.

13    Q       Okay.     I'm going to try to use this contraption

14    here, and if you can turn to Tagnetics' Exhibit A,

15    please?

16    A       Okay.

17    Q       If I can adjust this?           Okay.     Can you identify

18    Exhibit A?

19    A       Sure.     This is a series of emails, email string,

20    between me and the alleged Creditors.                 Even though

21    sometimes only one of the alleged Creditors' emails

22    appears, I remember on these emails, I was

23    communicating with all of them, and that's reflected on

24    some of them.

25            The email string starts on -- with an email from

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 1   me addressed to Mr. Kayser on Friday, July 19th, 2019,

 2   at 4:14 p.m., and then you can see the series of emails

 3   back and forth, where demands were made, rejected, and

 4    the reflection of our settlement negotiations, at least

 5    in writing, but does not account for every telephone

 6    communication that occurred.

 7    Q       Okay.     So Exhibit A then goes from most recent

 8    to the earlier emails, so

 9    A       Yes.

10    Q       So it's in reverse order, correct?

11    A       Correct.

12    Q       Now, did you have any phone conversations during

13    this period with any of the Petitioning Creditors?

14    A       I did.        I don't remember speaking -- when we had

15    our first conversations.            I may have spoken with Mr.

16    Kayser once or twice, but on the date -- key day, July

17    26, I was speaking primarily, if not exclusively, with

18    Mr. Earley.

19    Q       Okay.     Directing your attention to Exhibit A, if

20    you can go through several of those earlier emails,

21    where there are a number, it would appear, of both

22    monetary items that are being discussed, as well as

23    non-monetary items.           Can you address those, please?

24    A       Sure.     I    guess the first one does reflect that              I

25    spoke with Mr. Kayser, either earlier that day or the

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 1   day before, because it opens up with,                "Following up on

2    our conversation, this email identifies everyone who

3    should be copied on email communications, regarding

4    potential settlement discussions.''

 5   Q        And that's the July 19 email, correct?

 6   A        Yes, and this is where I was setting the

 7   groundwork, because I was going away on vacation the

 8    following day.        I wanted to make sure that people were

 9   available to communicate, in the event I had trouble

10   being able to access email or phone calls.                    I wanted to

11   make sure my partner, Jon Kagan, was available to step

12    in if need be.        Fortunately, there were no difficulties

13    communicating.        I was able to communicate the entire

14    time, so he was not really involved in the process.

15    Q       Okay.     I'm directing your attention to the next

16    email in line there.          It looks like it's July 20th at

17    4:54.

18   A        Yes, I see that one.

19    Q       And who is that from?

20    A       That was sent from Mr. Kayser to me, and with a

21    CC to a number of other people involved in the case,

22    including the other alleged Creditors, you as my co-

23    counsel, and other people -- other attorneys that were

24    as co-counsel in the case.

25    Q       Okay.     And can you describe for the Court what

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1    was the subject matter of that email?

2    A        Sure.    This reflects a substantive communication

3    about potential settlement, where Mr. Kayser, on behalf

4    of -- what I interpreted, on behalf of himself, and it

 5   does say ''our final offer,'' so I interpreted this to be

 6   him speaking on behalf of him, Mr. Earley, and Mr.

 7    I'm drawing a blank.

 8   Q        Mr. Hager?

 9   A        Mr. Hager.      My apologies.        That they made

10   monetary demands, which are reflected there in the

11    first part of the email.           You can see certain monetary

12    amounts to Mr. Earley, Mr. Kayser, Mr. Hager, with the

13    total being -- or payments to all three of them --

14    $486,700 and change.          And then it goes on to proceed

15    with setting forth other combination of non-monetary

16    demands, and some other monetary demands to be made, to

17    be included, as well, in the settlement.

18    Q       And did you respond to those gentlemen?

19    A       Yes.    My response is reflected in the next email

20    in the string, which is on Page 5 of the exhibit.                      It's

21    an email from me to Mr. Kayser, Mr. Earley, Mr. Hager.

22    It's address to Ken, Ron and Jon.               It's at 10:46 a.m.,

23    and in that email I acknowledge receipt of their

24    demand, and while I             and I'm reading the second

25    sentence,      "While I and the Tagnetics team appreciate

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 1    the overture to try to reach negotiated resolution,

 2    event you put forward is not realistic."                  And I go on

 3    to explain why what they're requesting is not even on

 4    the table for a realistic settlement discussion.

 5    Q       Okay.    And would you present to the Court what

 6    those objections were to that proposal?

 7   A        Sure.     So part of the problem was a large

 8    monetary payment up front,           initial payment, and that

 9    was something I explained in Paragraph 2, that is not

10    feasible.       Talked a little bit about some of the

11    structures to a deal that we could possibly accommodate

12    at the time, but was only               what was a potential

13    possibility, not making any clear offer or saying this

14    will be a deal term.

15            Then in the third paragraph I go on to say,

16    "insisting on any other structure than what I've

17    outlined above all but assumes that we proceed with the

18    bankruptcy proceeding."           So structurally they're

19    putting forth all these monetary terms, was way out of

20    line with what Tagnetics was willing or able to do.

21    Q       Okay.     Directing your attention to the response,

22    I take it, from that.

23    A       Yeah.     I'm just -- this is where I first

24    encouraged them to seek their own counsel in this

25    I'm sorry, I did not do that there.                Oh, no, I do.        If

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 1   you look at the one, two, three, fourth email, I do at

 2   the very end of that say,            "You can and should seek your

 3   own counsel, as I'm sure he or she will tell you the

 4   same thing," the stuff that I was saying about what

 5   happens if you proceed with bankruptcy.

 6   Q         That's the fourth paragraph on the July 23rd

 7   email at 10:46; is that correct?

 8   A         Yes.

 9   Q         Did any of the Petitioning Creditors respond to

10    that communication?

11   A         They did.     A little while later, not much after

12    my email, Mr. Earley responded in an email at 1:34

13    p.m., again with some CCs on it, and then after

14    rejecting, without putting out any specific terms, he

15    then put forth a new offer, and it says,                 "Stephen, here

16    is our offer after your email this morning.                   Let me

17    know if there is any interest."              And in that email

18    there's a chart that is reflected at the top of Page 5

19    of this email string, and it lays out a series of

20    monetary payments.         There are no other terms referenced

21    in that email.        It is strictly a monetary payment

22    chart.

23    Q        And did you respond to that proposal?

24    A        I did.    My next email is the following day in

25    the afternoon.        Looks like on July 24th at 5:56 p.m.,

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 1    just Ron, Ken and Jon,          "Thank you for your revised

2    demand.      This structure is more in line with what

 3   Tagnetics thinks is feasible, but the initial payment

4     is way too high for a cash-strapped company."                    And I go

 5   on to explain what we're looking at in terms of a

 6   potential lower initial monetary payment.                     Then after -

 7    - which we offered a lower number there.

 8            "The remainder of the payment schedule, after

 9    the initial payment you proposed,              is acceptable,

10    provided that the payments are contingent," and I go on

11    to some contingencies.           And I go on explaining that

12    further.     And then just go on to continue explaining

13    that in the email.

14    Q       Okay.     Did you receive a response to your email

15    from any of the Petitioning Creditors?

16    A       It was a flat-out rejection completely, email

17    from Mr. Earley later that evening, on the 24th.                      His

18    email is very short and succinct.               It says,      ''Stephen,

19    no chance.      Look forward to meeting you on Monday."                     So

20    no counter proposal or anything on that.

21    Q       And that's reflected, is it not, in what's

22    referenced as a July 24, 2019 email from Mr. Earley to

23    you at 7:43 p.m., correct?

24    A       That's correct, and that's on Page               3   of the

25    exhibit.

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 1   Q        Did you respond to Mr. Earley's response?

 2   A        I did.     The next day I sent a short email that

 3    says,   "It seems silly and, quite frankly, odd to simply

 4    cut off negotiations.          If there is a counteroffer you

 5   would like Tagnetics to consider, please send it and I

 6    will forward it to the company for consideration.

 7    Continuing down this path essentially guarantees that

 8    you, Ken and Jon do not receive any money, and each of

 9    you are at risk for having to pay money, parens, and

10    the money that Ken received last week in settlement

11    through KBL is subject to a preference and will have to

12    be returned if the Court imposes a bankruptcy on the

13    company.      I look forward to your response."               And that's

14    on July 25th, 2019, at 12:42 p.m. from me to all three

15    of them, even though it only shows Ron's name there.

16    Q       And that would be at the top of Page 3 of

17    Exhibit A, correct?

18    A       Correct.

19    Q       Okay.     Did you receive a response from any of

20    the Petitioning Creditors to that email?

21    A       I did.     Later that day, looks like even less

22    than an hour later, I received a response from Mr.

23    Earley at 1:25 p.m., and that email is reflected at the

24    bottom of Page       2   of the exhibit, on to the top of Page

25    3,   and again it's pretty short and to the point.                   It

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 1   says,     ''Stephen, they raised 90,000 for the first

 2    settlement, they should be able to find another 90 for

 3   us.      Here is my counter proposal."            And it lists that -

 4    - well, I'll call the payment schedule chart that was

 5    included below, with different numbers, and it shows an

 6    initial payment 30,000 each, to each of the three

 7    alleged Creditors, and then two subsequent payments at

 8    six and 12 months, and then there is an additional

 9    payment at -- upon the occurrence of what was referred

10    to as a liquidity event, and then the last line of that

11    chart shows the total payments to each of the three

12    alleged Creditors.         No other terms or conditions are

13    reflected in that email or counter proposal from Mr.

14    Earley.

15    Q        Okay.    And that response shows up on Page 2, at

16    the bottom of Page 2, email from Mr. Earley, dated July

17    25th at 1:25, and the chart you're talking about

18    carries over onto the next page, top of Page 3,

19    correct?

20    A        Correct.

21    Q        Did you respond to that email?

22    A        I did.     The next morning at 8:24 a.m., I sent an

23    email, again, to -- responding, saying,                "Ron, while we

24    appreciate your logic around the $90,000" -- it says

25    11   90k number," "$90,000 number, you are miscalculating

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 1    the company's situation.           We had hoped to negotiate

 2   with you outside of court on settlement while the

 3   parties pursued arbitration, as the terms of your

 4    contracts require, but the Court ruled against that.

 5   The company does not have an ability to raise another

 6    90k in the near term.          Now, unfortunately, the options

 7    to avoid substantial risk on both sides is very

 8    limited.     The three of you prevail on Monday, your

 9    claims will be worthless, and Ken and Bob, as well as

10    S-Tek and counsel for KBL, and S-Tek will have to

11    return the money they received last week.                  If Tagnetics

12    prevails, the company will move to require that you pay

13    all Tagnetics' attorneys' fees and litigation costs in

14    this matter, which are significant and growing by the

15    day."

16            Go on to proceed, "Tagnetics and I cannot

17    understand why each of you are pursuing the course of

18    action that essentially guarantees you will not get

19    paid the amounts you claim you are owed.                  The company

20    has made a reasonable proposal.               I would like to hear

21    back from each of you on the company's most recent

22    proposal.      Ken and Jon, I have not heard back from you

23    and I would like to know your position, as well.                     As

24    before, in light of the risks involved, I suggest you

25    seek advice from bankruptcy counsel.                 The path you have

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 1   chosen seems counterproductive and contrary to the

 2   outcome you claim to seek."

 3   Q        Did you receive a response from any of the

 4    Petitioning Creditors to that email?

 5   A        I did.     So really -- well, what happened between

 6    that and the next email, which is on this email string,

 7    is at, looks like 3:27 p.m., or that email at 8:24

 8    p.m., I remember this very distinctly, because that was

 9    my last day of vacation.            We were heading home that

10    day, and I was supposed to be driving.                 I was in the

11    passenger seat.        Had a bunch of calls in the morning on

12    matters related to this and other stuff, and then

13    starting early in the afternoon, I remember it was

14    around one o'clock, give or take a little bit, the

15    phone calls became fast and furious between me and

16    not exclusively Mr. Earley, certainly primarily with

17    Mr. Earley.       I think it was exclusively with Mr.

18    Earley, where we were calling one another frequently,

19    going back and forth, trying to negotiate a settlement.

20    And we ultimately did reach one.

21            And I remember, when we finally came to terms on

22    one, I was very deliberate in how I worded things, and

23    one of the key terms, before we closed the deal, one of

24    the things that they insisted on, was that they get

25    full releases, completely, and I had some real concerns

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 1    about that, representing the company for certain

 2    reasons that I don't think are pertinent here, but I

 3    said, I'm duty bound to bring this to my client's

 4    attention, I will do that, I will tell you I'm not

 5    recommending it, but I'll let the client know.                    And

 6    after some discussions with the CEO of the company,                     I

 7    was told I was authorized to make an agreement that

 8    included the monetary terms that we ultimately agreed

 9    to, which are reflected in the email, but the key was

10    also full mutual releases, no carve-outs.                  And that's

11    reflected in my email later on that reflects the terms.

12            And I remember, the company was fine, giving the

13    three alleged Creditors full releases, despite some of

14    the reservations I had, as long as it was mutual, full

15    mutual releases, no carve-outs, and that was the phrase

16    that went over, over and over again, in my discussions.

17    Q       And that discussion occurred on that issue as a

18    result of concerns that one or more of the Petitioning

19    Creditors had about claims that the company may have

20    against them, correct?

21    A       Correct.      They were very clear about that, and

22    wanted to be released from certain terms of other

23    agreements that they had with the company, and it was

24    adamant that that was not negotiable from their

25    perspective, and so they wanted to make sure that they

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 1   were fully released, and the company's response was, if

 2   we're going to fully release them, we're going to get

 3    full release, as well, and move on from there.

 4   Q        So was the concept of a mutual release with no

 5    carve-outs dictated by the Petitioning Creditors?

 6   A        I think so, because they were the ones that was

 7    driving it, and my client -- our client ultimately said

 8    they were fine with it, as long as it's mutual, and

 9    they were willing to go along with that.

10    Q       Okay.     Directing your attention to Page 1 of

11    Exhibit A, I think you referred to that in opening as

12    the term sheet?

13    A       This is.      This is where, after we had --

14    remember, there were many phone calls.                 When we finally

15    came to terms, I remember I said to Mr. Earley, I'm

16    going to then send you an email that sets forth the key

17    terms, and I want to make sure that I hear back from

18    you guys, confirming before we call the Court, that

19    this is what we agreed to.            We should not be calling

20    the Court until we have an email exchange confirming

21    this is what we agreed to.

22            I was very sensitive to the fact that we have

23    prose parties.          I was also very aware of the

24    sensitivity of these negotiations.                I was very, very

25    deliberate about this, because now that we were at that

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 1   point, I wanted to make sure there was no

 2   misunderstandings.          And I wrote it out that way too.

 3    My email clearly says, at 3:27 p.m.,               "Ron, Kevin, Jon,

 4    below sets forth the terms of the agreement we reached

 5    by phone.      Each of you please reply, confirming

 6    agreement to these terms, and that I need you to

 7    initiate a call to the Court to advise of the

 8    settlement.       It makes no sense for us to have to show

 9    up at court on Monday, now that we have an agreement in

10    place that will be documented more thoroughly in a

11    settlement agreement.           We can work on the written

12    settlement agreement over the weekend."                 And I wrote,

13    "Key terms: Payment of $90,000             ($30,000 each), within

14    three days of a fully executed agreement.                  The

15    remaining schedule of payments as you proposed below,

16    accepting 12 and 18 months instead of six and 12

17    months."      And that's referring to the schedule that I

18    was referring to, the schedule chart that's reflected

19    in July 25th email.

20            And then that phrase,          "full mutual releases (no

21    carve-outs)."        Then another term,        "Dismissal/withdrawal

22    of claims by each of you to be filed within one day of

23    receiving payment."          And I said,      "I believe this

24    captures the key terms we discussed.                 Please confirm."

25            And then I remember there was a bit of a delay.

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 1   I was a bit surprised by the delay.                 I called Mr.

 2   Earley once or twice.           I may have spoken with Mr.

 3   Kayser.      I don't remember exactly who I was speaking

 4   with at this time.          I'm pretty sure at least one of

 5    them was Mr. Earley.          And I said -- and I got an email

 6    response from Mr. Hager at 3:56 p.m. saying,                  "Mr.

 7   Earley is discussing this with the Court at this

 8   moment.      I am responding for Kayser, Early and Hager,

 9    saying we agree to the terms put forth as documented

10    above."     He wrote "above," but it's really -- I

11    interpret that to mean the email below.                 And so that

12    was confirmation number one, that the term sheet, as I

13    described it, in my 3:27 p.m. email, is agreed to and

14    confirmed.

15    Q       Okay.     Then at the top of Exhibit A on Page 1,

16    there's another email from Mr. Hager.

17    A       Yes.

18    Q       At 3:58, which is within the same time frame

19    here.     And could you address that, as well?

20    A       And there, so to me that's confirmation number

21    two.    What he did is he copied my email at 3:27 p.m.

22    and copied it into his email.              He says,     ''Stephen, I

23    will clarify that we agree to the terms you set forth

24    in your last email and represented below.                   Key terms."

25    And lists those four key terms that I just described

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 1   moments ago, and no other terms, none of these other

 2    terms that were referenced in the July 20th email or

 3    anything earlier.         These are the key terms of the

 4    settlement agreement.

 5    Q       All right.       I'm asking you to refer now to

 6    Exhibit I, which now the Judge has a copy of, as well.

 7    Can you identify what Exhibit I represents?

 8    A       So again, there was some back and forth about

 9    when I was going to hear from the Court.                  I ultimately

10    did speak with -- forgive me for referring to you by

11    your first name.         I remember Joni.         I don't want to

12    mispronounce the last name.             I did eventually speak

13    with her.

14            I got an email from Mr. Hager at 4:09 saying,

15    "Stephen, the Court will be calling you momentarily to

16    confirm we have an agreement among all parties."                     And

17    then a short while after that, he sent another email to

18    me, again -- so for the third time, confirming the key

19    terms of the agreement.            It's the top email in that

20    string on Exhibit I, July 26, 2019, it says at 4:36

21    p.m., and it's from Mr. Hager to me, with a copy to Mr.

22    Earley and Mr. Kayser.           It says,     "Stephen, to make sure

23    there is no confusion, we are confirming the following

24    payment schedule and amount as part of this agreement,"

25    and lays out that payment chart that I was referring to

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 1   earlier.        It's the same exact one that we agreed to,

 2   except the only difference is there's two differences,

 3   or three.

 4            The second and third payments instead of six and

 5    12 months, now are written out to be 12 and 18 months,

 6    which accurately reflects what we agreed to, and then

 7    in the bottom line where totals of payments, it says,

 8    ''Total settlement," and the "Total" is written in all

 9    caps, to me emphasizing the point, this is what we

10    agreed to, total settlement payment, nothing more

11    beyond that.

12    Q       Thank you.       Directing your attention now to

13    Exhibit B.

14    A       Bas in boy?

15    Q       Bas in boy.        Can you identify that?            I believe

16    there's an email on the first page.

17    A       Yes.     This is -- so the first page is the cover

18    email that I sent to Mr. Kayser, Mr. Earley and Mr.

19    Hager, attaching the draft settlement agreement.                     I

20    worked on the settlement agreement.                Admittedly, it

21    took me a little bit longer than I had originally

22    anticipated.       That was unfortunate, but I did get it to

23    them, out by the date that I committed to getting it to

24    them, after we had the status conference with the

25    Court, and then the subsequent pages of that exhibit

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1    reflect what the agreement that I drafted, that I

2    believe accurately reflects and is taken off of the

3    term sheet, those email exchanges between me and the

4    alleged Creditors, on July 26th.

 5   Q        All right.       I'm also directing your attention

 6   now to Exhibit H, if you will.               Originally there were

 7    six Petitioning Creditors; is that correct?

 8   A        Correct.      Originally six, three of which settled

 9   out earlier in this case, and Exhibit H reflects a

10    redacted version of that settlement agreement with the

11    other three Petitioning Creditors in this case.                    Those

12    Petitioning Creditors were KBL Ventures, LTD, which I

13    understand to be owned by Mr. Kayser, one of the

14    remaining Petitioning Creditors and one of the people

15    here today, and that is reflected in                   at least as the

16    CEO, because if you look at the last page of that

17    exhibit, he is the one that signed on behalf of Kayser

18    Ventures, LTD.        That's on Page 6.

19            The other settling Petitioning Creditors in that

20    settlement agreement were S-Tek, Inc., and a gentleman

21    by the name of Robert Strain.

22    Q       You negotiated that settlement, as well; is that

23    correct?

24    A       I did.     I negotiated that settlement with Kayser

25    Ventures and S-Tek were represented by counsel and Mr.

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 1   Strain was proceeding prose.               Most of the negotiations

 2   were with the attorney.            There was some negotiations

 3   separately with Mr. Strain, but not much.

 4   Q        Other than         well, the redacted sections here

 5   most likely deal with the monetary aspects of the

 6    transaction, I take it?

 7   A        They were.       It deals with the monetary aspects

 8   of it, some non-monetary terms, typical language about

 9        you know,     I took out all those terms.             I left in

10    here for purposes of this proceeding only the

11    introduction, just show who this is between, the

12    signature page again to show who it's between, and then

13    elements of or portions of the releases, because one of

14    the objections that we got subsequent to sharing the

15    draft settlement agreement was including Compass

16   Marketing, Inc., specifically among the releases.                      And

17    I was very, very surprised to see that, because first

18    of all --

19    Q       What you're saying is that after you transmitted

20    what has been identified as a part of Exhibit B, the

21    settlement agreement, regarding the remaining

22    Petitioning Creditors, that one of the issues that came

23    up was whether or not there should be a carve-out as to

24    Compass?

25    A       Yes.    I'm sorry.       Thank you for that

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 1   clarification.         So, yes.     After I transmitted Exhibit

 2   B, one of the responses I got back from the alleged

 3   Creditors was an objection to including Compass

 4   Marketing, Inc., in the release.                If you look at

 5    Exhibit B for a moment, if you look at                    in Paragraph

 6    -- in Section 4, Section 5 and Section 6, which are the

 7    releases that would be provided by Mr. Kayser, in 4 Mr.

 8    Early,   in 5 Mr. Hager, and 6, I'll just read the

 9    opening of Mr. Kayser's paragraph, because the language

10    mirrors itself.        "In exchange for the consideration

11    described herein, Kenneth Kayser on his own behalf and

12    on behalf of his heirs, successors and assigns, as well

13    as all corporate and operating affiliates, related

14    entities, in which Kenneth Kayser has controlling

15    interest, hereby releases and discharges Tagnetics, as

16    well as its current and former parent companies,

17    corporate and operating affiliates, subsidiaries, and

18    related entities (including specifically Compass

19    Marketing, Inc., as well as each of their current and

20    former directors, officers, shareholders and other

21    equity holders, agents, employees, accountants,

22    attorneys, insurers, collectively the Tagnetics

23    releasees.)"       And that language appears in each of the

24    release paragraphs.

25             The reason why

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 1   Q        Was this any different than the nature and scope

 2   of the releases in the original settlement agreement

 3    that's referenced as Exhibit H, with the --

 4                 DR. KAYSER:       Your Honor, I object to this

 5    line of questioning as relevance.               I mean, what was

 6    appropriate to settle with Kayser Ventures is not

 7    necessarily appropriate with what a settlement would be

 8    with the individuals who had contracts with Tagnetics.

 9                 THE COURT:       Any response, Mr. Kracht?

10                 MR. KRACHT:        Yes, Your Honor.        We're getting

11    to the point that we were going to try to make on that.

12    It has to do with whether there was a carve-out or not

13    that was requested and the logic of that, and how these

14    otherwise were similar agreements drafted after

15    negotiations by Mr. Stern, with the original -- the

16    other Petitioning Creditors that were released, which

17    included in part, because of his status with Kayser

18    Ventures, Mr. Kayser, as well.

19                  THE COURT:      I'm going to overrule the

20    objection, but let me state this.                I'm going to let you

21    finish this questioning, but I'm going to be honest.

22    I'm very skeptical of the position that Compass -- this

23    argument or position that including Compass in the

24    release would be a carve-out.              I don't understand that

25    from a legal perspective.            I don't follow your argument

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 1   that including Compass in the release would be a carve-

 2   out.      And okay, I can understand that, if the July 26th

 3   emails said based upon all the terms in the settlement

 4   agreement with Strain and KB whatever, and so forth,

 5   but that's not what the July 26th email says.

 6                 MR. KRACHT:       Correct, Your Honor.

 7                 THE COURT:       So I'm being honest with you, I'm

 8

 9                 MR. KRACHT:       Quite frankly

10                 THE COURT:       I'm not buying it right now, and

11    you're going to have to do an awful lot of convincing

12    that including Compass in the release is a carve-out.

13                 MR. KRACHT:       We're not saying that, Your

14    Honor.     We're saying that there was no carve-out,

15    saying that the release didn't apply to Compass.                     They

16    were a part of the overall release that was given.                      A

17    carve-out of Compass would have said, you know, the

18    Tagnetics, its officers, directors, affiliates, blah,

19    blah, blah, excepting Compass, which would give -- what

20    would have occurred if that happened, would have been

21    they would have been able to retain any claims they may

22    have against Compass.           That would have been the carve-

23    out.     We didn't agree to the carve-out.

24                  THE COURT:      I understand that's your

25    argument.      I understand that.

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 1                 MR. KRACHT:       Mm-hmm.

 2                 THE COURT:       But your July 26th emails don't

 3    say Tagnetics, its affiliates, Compass, blah, blah,

 4   blah.     And so I don't know how you explode and include

 5   your July 26 email to include all the affiliates and

 6    everything, when the key terms and everything else,

 7    from what I read, don't include affiliates and blah,

 8    blah, blah, and officers and agents and blah, blah,

 9    blah.

10                 MR. KRACHT:       That's why we're --

11                 THE COURT:       The settlement agreement does.

12                 MR. KRACHT:       That's why we're contrasting, to

13    the extent there is something to contrast, the earlier

14    settlement agreement, because there is a distinction,

15    there was a carve-out there that we were going to get

16    to.
17                  THE COURT:      Again, I'll let you proceed with

18    this questioning.         I'll overrule the objection, but,

19    you know, I'm skeptical about this position.

20                  MR. KRACHT:       Understood.

21                  MR. STERN:      Well, as in every settlement

22    agreement I've drafted in my career on behalf of a

23    company, I don't think there's a single one that I

24    could think of off the top of my head, where I did not

25    include the entity itself that's a party to the case,

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 1    its parents, affiliates and subsidiaries.                  That's

 2    standard operating procedure in any settlement

 3    agreement, I think I've ever done in my entire career.

 4   And in this case, an affiliate of Tagnetics is Compass

 5   Marketing, Inc., and as evidenced by the fact that we

 6    included specifically Compass Marketing, Inc. in the

 7    prior settlement that Mr. Kayser had signed, to show

 8    that this is not a surprise.             This is something that

 9    was standard procedure in settlements generally,

10    parents, subs, operating affiliates, so that's in all -

11    - typical in agreements, and in this case specifically

12    Compass, because Mr. Kayser had signed on that before.

13    And we didn't specifically mention Compass before that

14    either, until we got to the draft settlement agreement,

15    which Mr. Kayser signed, without objection.

16            So when I got the objection later on, after I

17    sent Exhibit B to the alleged Creditors, I was very

18    surprised.      I'm just mirroring the language that was

19    acceptable before, and is typical in all sorts of

20    agreements about -- where you release affiliates,

21    parents and subs, and that's -- again, I don't think

22    I've ever done an agreement where it didn't include

23    that language.

24    BY MR. KRACHT:

25    Q       Now, when you look at Exhibit H, the prior

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 1    settlement, there was a carve-out that was addressed in

 2    that particular case, right?

 3   A        Yes, thank you.        So we did have to include a

 4    carve-out and we could provide an un-redacted version,

 5    if need be.       It is redacted in here.           But the KBL

 6    releases, because Mr. Kayser is an individual who owns

 7    KBL, as we understood it, there is a carve-out at the

 8    end of his -- of his release, because if you look at

 9    the language -- I'm going to read Page 2, Section 5, of

10    Exhibit H.

11                  "KBL releases.        In exchange for the

12    consideration described herein, Kayser Ventures, LTD,

13    on its own behalf and on behalf of its current and

14    former parent companies, corporate operating

15    affiliates, subsidiaries and related entities, as well

16    as each of their current and former directors,

17    officers, shareholders and other equity holders," and

18    then go on and on.         Releases, Tagnetics, and again has

19    the same language there,           "its corporate operating

20    affiliates, subsidiaries and related entities,

21    including specifically Compass Marketing, Inc."

22            The reason why we had to include a carve-out at

23    the end of Section 5, because we knew that Mr. Kayser

24    had his own individual claims, and based on that

25    language, we did not negotiate a separate settlement

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 1    for his individual claims.            We knew that he was

 2   proceeding on those.           It was part of the understanding

 3   of the deal terms.          It would have been intellectually

 4   dishonest to try to             try to get a release of his

 5    individual claims, when you had the KBL claims and were

 6    only negotiating about KBL at the time.                 We were not

 7    negotiating about Mr. Kayser's individual claims.

 8            So, at the end of this paragraph -- it is

 9    redacted, but we could provide an un-redacted version.

10                  DR. KAYSER:      Your Honor, I object.            I do not

11    have in front of me what he's reading from, and so I

12    can't follow what's going on here.               And in addition,

13    this is irrelevant.          What Kayser Ventures' settlement

14    said does not affect and was never meant to affect, and

15    my counsel for Kayser Ventures isn't here.

16                  THE COURT:      Do you have -- let me ask you,

17    Mr. Kayser, do you have their exhibits in front of you?

18                  DR. KAYSER:       But it's redacted in there,

19    also.    And I didn't bring with me the settlement

20    agreement from Kayser Ventures.

21                  THE COURT:      Well, I think he was reading from

22        is the carve-out redacted or is the carve-out -- are

23    the carve-outs redacted?

24                  MR. STERN:       It should be at the end of

25                  THE COURT:       I'm going to sustain the

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 1   objection then.         If you're talking about something that

 2    was redacted from the exhibit,             I agree.     I think Mr.

 3    Kayser is absolutely right, and I'm going to sustain

 4    the objection, to the extent you're testifying about

 5    him trying to read something that's redacted from an

 6    exhibit.     And let me say this much, I will probably --

 7    if they move admission of Exhibit H, I will probably

 8    admit it, but I'm, again, being forthright and honest,

 9    from what I've seen of everything, I tend to agree,

10    Exhibit H, I think, is irrelevant.                I'm being

11    forthright and honest with you.              You know,     I think

12    really for the most part, Exhibit His irrelevant,

13    because what you           what terms you entered into with

14    other parties on another settlement, even though a same

15    case, I'm struggling to understand the relevance to

16    settlement with these three other parties.

17                  MR. KRACHT:       Just a question, Your Honor.

18    Would it be permissible to substitute Exhibit H,

19    redacted version, with a revised version that shows

20    that language that we're talking about now?

21                  THE COURT:      Is there objection --

22                  DR. KAYSER:       Yes, I would object in that it's

23    irrelevant.

24                  MR. KRACHT:       Mr. Kayser was a party to --

25                  DR. KAYSER:       It's a separate entity.           The

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 1    fact that I happened to be the chairman of that company

 2    is not relevant to this portion of the case.

 3                   THE COURT:     Mr. Earley, any objection?

 4                   MR. EARLEY:      I object also.        I agree.

 5                   THE COURT:     Mr. Hager?

 6                   MR. HAGER:     I object, likewise.

 7                   THE COURT:     Yeah, I'm going to sustain those

 8    objections.       You know, we had exhibit filing date, and

 9    that's why we have exhibit filing dates.                  You had

10    plenty of opportunity to consider this.                 And now you

11    want to substitute one that you think is more favorable

12    to you than the one you submitted in this largely

13    redacted version.         And not only that, I mean, I often

14    will allow exhibits to be introduced, even though they

15    missed the filing date, but I do -- again, coupled with

16    the fact that I do believe Exhibit His not -- is

17    largely, if not totally, irrelevant to what's before me

18    today, I'm going to sustain the objection.

19                   MR. KRACHT:      Thank you, Your Honor.

20                   THE COURT:     To the request you've made.

21    BY MR. KRACHT:

22    Q       Okay.     Mr. Stern, if you can look to Exhibit C?

23    A       Yes.

24    Q       Can you identify that document?

25    A       This is an email from me to Mr. Hager, with a

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 1   copy to Mr. Kayser, and Earley, on August 19, 2019, at

 2    7:48 p.m., where I am responding.               It's an email

 3    string.     That's the most recent one in the string was

 4    the one I just identified.            There's an earlier email in

 5    this string from Mr. Hager to me, with a copy to Mr.

 6    Kayser, Mr. Earley, on August 16th, 2019, at 2:19 p.m.

 7    Q       And that's on Page 2 of Exhibit C, correct?

 8   A        Yes, and in that first email in the string, from

 9    Mr. Hager,      it sets forth a number of objections that

10    they have to the terms -- the written terms of the

11    settlement agreement, that I provided to them, as in

12    Exhibit B, on August 14th.

13    Q       Okay.     And you responded to those objections to

14    the settlement agreement?

15    A       I did, and that's my August 19th email to them,

16    which is the first page of the exhibit, where I try to

17    go through the substantive discussions and explain, you

18    know -- I mean, I guess my opening line is,                  "Many of

19    the terms included below clearly fall outside the scope

20    of what we agreed to, the email exchange we had on July

21    26, 2019, at 3:56 p.m. and again at 3:58 p.m.                 11



22    Apparently some of the times must have been flipping

23    back and forth in the emails, now that I'm looking at

24    this.     "Without going blow by blow, the terms of

25    Paragraph 4 clearly call for payments that were not

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1    included in the July 26 email exchange, setting forth

2    the settlement payments.            In addition, those requests

 3   for additional payments clearly seek an exception to

4    the full mutual releases, no carve-outs.                   I'm not sure

 5   how you can now ask for payments that were not

 6   previously agreed to, seek exceptions to full mutual

 7   releases, no carve-outs."

 8            And it goes on to explain those a little bit

 9   more detail.        I'm going, again, back to the full mutual

10    releases, no carve-outs, that's a repeated theme of

11    these discussions.         There's some other terms at the

12   bottom, where they were making a request for default

13    judgment.      Again, that was something that was

14    entertained in earlier emails.              I'd have to look back

15    at email or Exhibit A.           I think it was on the 20th.             It

16    was around where maybe 23rd, 24th, where the discussion

17    of default judgment was a possibility, but it clearly

18    wasn't one of the terms that were agreed to, because

19    there were not one, not two, but three emails

20    confirming the key terms of the agreement, without any

21    discussion for these other non-monetary terms.                    Not

22    once was that included.

23    Q       And those non-monetary terms would have been

24    various carve-outs that they were seeking now after the

25    fact?

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 1   A        Correct.

2    Q        Directing your attention to Exhibit D.

 3   A        Yes.

4    Q        Can you identify that, please?

 5   A        So this is a response to -- another response to

 6    the draft settlement agreement I provided on the 14th.

 7   This is an email from Mr. Earley on the 16th at 11:52

 8    a.m., and he expresses concerns similar to Jon Hager's,

 9    and added a few other terms about a $30,000 loan

10    accruing interest, and then something related to stock

11    ownership.      He refers to Jon's, even though Jon's

12    didn't come to me until later in the day, I believe.

13    So obviously they -- I'm assuming they exchanged

14    discussions or emails and didn't realize the timing of

15    events, but these two were -- I interpreted as being

16    sent in collaboration with one another.

17    Q       Directing your attention to -- we'll skip over

18    E.    If you'd take a look at Exhibit F?

19    A       And then this is -- Mr. Earley apparently sent

20    an email to Mr. Hager and Mr. Kayser on August 20th,

21    2019, at 5:13 p.m., which he subsequently forwarded to

22    me on the 21st of August at 7:25 a.m., and it was only

23    to me, where they're identifying some additional

24    concerns about the settlement agreement, based on a

25    conversation that Mr. Earley had with a lawyer.                     There

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 1   were concerns about the general release language.                      It

 2   sought a new provision that wasn't discussed before, an

 3   acceleration clause for payments, something about a

 4   non-compete agreement, which was not previously

 5   discussed, and changing the voluntary dismissal of this

 6   proceeding to without prejudice, instead of with

 7   prejudice.       And then another statement about some

 8    $30,000 loan, all of which we did not discuss

 9    previously.

10    Q       So --

11   A        The only thing that might arguably have been

12    discussed, but again was Item 1, where they're making

13    an exception for Compass Marketing, but again from my

14    mind, full mutual releases, no carve-outs, that means

15    all parents, subs, and operating affiliates.                    Compass

16    Marketing is an operating affiliate under Ohio law, as

17    I understand it, because of its ownership interest in

18    the entity.       We just decided to identify specifically

19    in the agreement, so that there wasn't an ambiguity

20    about that later on, because under Ohio law, as I

21    understand it, it constitutes an affiliate.

22    Q       So how did you and Tagnetics view these post-

23    settlement communications from the Petitioning

24    Creditors?

25    A       Sure.     I guess -- I want to be careful about not

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 1    revealing privileged communications, but Tagnetics was

 2    surprised.      I was certainly surprised.             This to me was

 3    clearly outside the scope of what we agreed to.                     I was

 4    -- as I mentioned earlier, I wanted to be very careful

 5    about how I communicated those terms at the end, before

 6    we called the Court.          And as I mentioned before, there

 7    is not one, not two, but three confirming emails to

 8    them, confirming the total payments and what the key

 9    terms were, repeating the full mutual releases, no

10    carve-outs.       So this to me looked like more and more

11    exceptions.       To use the phrase, buyer's remorse.                I

12    don't know why there's been a change of heart, it

13    seemed to me, but that's the way I was interpreting it,

14    and that's the way I can fairly describe what

15    Tagnetics' reaction was, as well.

16    Q       Okay.     If you'll take a look at the next

17    exhibit?      I believe it's the final one, Exhibit G.

18    A       Okay.

19    Q       Can you identify that?

20    A       Sure.     This looks like           let me go back to the

21    first email here.         This is more in the string of the --

22    so the first email in the string is from Mr. Hager to

23    me, with a copy to Mr. Kayser and Mr. Earley, on August

24    16th, where they identified their concern slash

25    objections to the settlement agreement that I provided

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 1   on the 14th.

 2             The next email in that string is my response

 3    that we had identified earlier.              I think that was

 4   Exhibit D.        No, C is the next one in that string, I

 5   believe, if I'm reading them correctly.                  Yes.     And then

 6    this is a response to my August 19th email, and this

 7    came from Mr. Hager to me, with a copy to Mr. Kayser

 8    and Mr. Earley on August 20th, 2019, at 9:23 a.m.,

 9    again trying to explain what I saw as the different

10    terms and conditions than what we had agreed to on July

11    26th.

12    Q        Essentially then, to try to re-trade the

13    settlement that was reached on July 26th?

14    A        Yes.

15                    MR. KRACHT:     I have nothing further, Your

16    Honor.

17                    THE COURT:    Thank you, Mr. Kracht.

18                    MR. KRACHT:     Would you entertain introduction

19    at this time or would you prefer to do that --

20                    THE COURT:    Yeah, I think that would be fine,

21    if you want to move admission.

22                    MR. KRACHT:     I'd like to move to admit

23    Exhibits A through I.

24                    THE COURT:    Did you cover Exhibit E?

25                    MR. KRACHT:     I did not, and if I could have a

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 1   minute talking to my co-counsel, would that be

 2   permissible?

 3                   THE COURT:     Yeah, you may do so.          Unless you

 4   want to be on the record with this discussion, I'd get

 5   away from a microphone.            Yeah, Petitioning Creditors,

 6   you can figure out whether you have any objections to

 7   admission of these exhibits and if you want to, you

 8   also -- I'll wait.

 9                   (Pause.)

10                   MR. KRACHT:     Your Honor, after conferring

11    with co-counsel, I'm going to, if you would permit, ask

12    him a few questions about that exhibit.

13                   THE COURT:     That's fine.

14    BY MR. KRACHT:

15    Q       Directing your attention to Exhibit E.

16    A       Yes.

17    Q       Can you identify that, please?

18    A       Sure.     When preparing the motion to enforce the

19    settlement agreement, I drafted this declaration for

20    Mr. Luis Fernandez, where -- who was the CFO of

21    Tagnetics, and he is now -- at the time he signed this,

22    he was Acting CFO, and so I drafted this, sent it to

23    him, asked him to make whatever tweaks or modifications

24    he needed to make.          He made a few small tweaks, signed

25    this and sent it back to me to include with our brief

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 1   on the motion to enforce settlement agreement.

 2   Q        Okay.    And it addresses what particular point?

 3   A        It addresses specifically Compass Marketing,

 4    Inc. 's ownership interest in Tagnetics, Inc.

 5   Q        And that was to what, demonstrate that it's an

 6    affiliate?

 7   A        Yes.    To show -- because with the research that

 8    I had conducted under -- or my office had conducted and

 9    shared it with me, so I didn't actually do the

10    research, to make sure I'm accurate in my statement to

11    the Court.       So, but based on my firm's research, under

12    Ohio law, an affiliate is any person, and a person is

13    defined as an individual or a corporate entity, that

14    owns more than ten percent of another company.                    And in

15    this case, based on the ownership interest of Compass

16    Marketing having more than ten percent, we deemed it to

17    be an affiliate under Ohio law.

18    Q       Okay, thank you.

19                   MR. KRACHT:      Nothing further, Your Honor.

20                   THE COURT:     Okay.     And you're moving

21    admission of Exhibits A through I?

22                   MR. KRACHT:      Yes, Your Honor, correct.

23                   THE COURT:     Okay.     Petitioning Creditors, you

24    can let me know if you have any objections to the

25    admission of any of those exhibits.                You also have the

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 1    right to,     if you want to ask Mr. Stern or any other

 2    witnesses questions about those exhibits, because you

 3    dispute their authenticity or something like that,

 4    before I admit them, you have the right to do that too.

 5    So if you want to have me reserve my ruling on the

 6    admission of those exhibits until you have the

 7    opportunity to examine witnesses about those exhibits,

 8    we can do that also.

 9                 DR. KAYSER:       Your Honor, I'm concerned about

10    the admission of this particular affidavit.

11                 THE COURT:       Exhibit E, Mr. Fernandez's

12    affidavit?

13                 DR. KAYSER:        From Luis Fernandez, yes.            And

14    the reason being that, you know, I was a long-time

15    director of this company, and as of the time of my

16    serving on the Board of Directors, Compass Marketing

17    was not a ten percent shareholder of this company.                        And

18    that action may have taken place after the petition for

19    involuntary bankruptcy was filed,              and I would have to

20    contact the lawyer, and we don't have Luis Fernandez

21    here to testify when this change to the ownership of

22    Tagnetics occurred, and I think that's an important

23    consideration.

24                  THE COURT:      I think Mr. Kayser is making a

25    hearsay objection to the admission of Exhibit E.                     He

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 1   didn't label that as a hearsay objection, but I think

 2   he articulately objected to Exhibit Eon the basis of

 3    it being hearsay.         Mr. Earley, do you have an objection

 4    to the admission?

 5                 MR. EARLEY:       I also object.

 6                 THE COURT:       Mr. Hager?

 7                 MR. HAGER:       Also object.

 8                 THE COURT:       Based upon their objections, I

 9   will not admit Exhibit E.             I think it is flat-out

10   hearsay.      Mr. Kayser articulately stated why hearsay

11    should not be admitted, particularly hearsay such as

12    this, an affidavit of somebody who is not testifying

13    today, that they do not have the ability to cross-

14   examine on these statements.              So I will not admit

15   Exhibit E.
16                  (Exhibit E rejected.)

17                 THE COURT:       What about the other exhibits,

18   Mr. Kayser and Mr. Earley and Mr. Hager, other than E?

19    Is there an objection or do you want me to reserve

20    ruling on those exhibits?

21                 DR. KAYSER:       Can we have just a moment, Your

22   Honor?
23                 THE COURT:       Yeah, absolutely.         In fact, why

24   don't we take a five-minute recess?                 You can discuss

25    those and then we'll --

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 1                 DR. KAYSER:       Appreciate it.         Thank you.

 2                 THE COURT:       -- come back after a five-minute

 3    recess.

 4                 THE CLERK:       All rise.      Court is in recess.

 5                  (Off the record from 11:02 a.m. until 11:14

 6    a. m.)

 7                  THE CLERK:      Court is again in session.             You

 8    may be seated.

 9                  THE COURT:      Okay.     We finished,      I think, with

10    the direct examination of Mr. Stern.                And Mr. Kracht

11    proposed the admission of Exhibits, Tagnetics' Exhibits

12    A through I.       I already ruled on Exhibit E and

13    determined that E would not be admitted, based upon it

14    being hearsay, and I don't believe there's any

15    exception to the hearsay rule, which would cover an

16    affidavit of a person who is not here to testify.

17                  And so I think that leaves the remaining

18    exhibits.      And the Petitioning Creditors were

19    conferring as to whether they had any objections to the

20    admission of those other exhibits.                So I think that's

21    where we lie.

22                  Mr. Kayser, any objection?            And as I pointed

23    out earlier too, if you want the Court to reserve

24    ruling on admission of these other exhibits until you

25    have the opportunity to examine Mr. Stern or any other

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 1   witnesses, concerning those exhibits, that's also

 2    something which the Court can do.               So that being said,

 3   Mr. Kayser?

 4                 DR. KAYSER:       I don't believe I have any

 5    objection to the other exhibits.               They are primarily

 6    documents

 7                 MR. HAGER:       Your Honor, I guess the question,

 8    when you mention if we would like to cross, do we

 9    suggest that we reserve your ruling or --

10                 THE COURT:       You can still cross.           You'll

11    still have the opportunity to cross-examine Mr. Stern

12    about his

13                 MR. HAGER:       Sorry.

14                  THE COURT:      -- testimony.        It's a good

15    question.      It's a good question.           You still have the

16    right to cross-examine Mr. Stern.               All I was -- point I

17    was making is -- is if you want me to reserve ruling on

18    admission of the other exhibits, until you cross-

19    examine Mr. Stern, because you may have some issue

20    about the authenticity or something of any of these

21    exhibits, I can reserve ruling on admission of those

22    exhibits until you have that opportunity.

23                  MR. HAGER:      Thank you.

24                  THE COURT:      So I believe Mr. Kayser said he

25    has no objections to admission of the other exhibits,

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 1    other than, you know, Exhibit E.               Mr. Earley, what

 2    about you?

 3                 MR. EARLEY:       The same.       No objections.

 4                 THE COURT:       Mr. Hager?

 5                 MR. HAGER:       I have no objections.

 6                 THE COURT:       Okay.     Then the Court will admit

 7    Tagnetics' Exhibits A through I, except for E.                    We are

 8    not -- the Court is not going to admit Exhibit E, but

 9    will admit the other exhibits.

10                  (Exhibits A, B, C, D, F, G, H, I admitted

11    into evidence.)

12                 MR. KRACHT:       Thank you, Your Honor.

13                  THE COURT:      Okay.     Now I think we're ready

14    for any cross-examination of Mr. Stern.                 Mr. Kayser, do

15    you wish to cross-examine Mr. Stern?

16                  DR. KAYSER:       I have a few questions for Mr.

17    Stern, yes.

18                  CROSS-EXAMINATION OF STEPHEN STERN

19    BY DR. KAYSER:

20    Q       Mr. Stern, on -- from the email of July that I

21    sent to you on July 20th, did that form the basis for

22    the remainder of our negotiations?

23                 MR. KRACHT:        Objection.      Do you have an

24    exhibit you can refer to, please?

25                  DR. KAYSER:       It's our Exhibit 1, and I

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 1   believe it was your Exhibit --

 2                    MR. STERN:     Looking at Exhibit A, what is

 3   Page     6    of the      is that the one you're referring to?

 4   BY DR. KAYSER:

 5   Q            Yeah.

 6   A            I don't know if I'd describe it as it forms the

 7    basis of our subsequent negotiations, because I

 8    responded by rejecting that email, and then I think

 9    really where -- if you wanted to talk about one that

10    really forms the basis of it, you could maybe point to

11    either the July 23rd email from Mr. Earley, or the July

12    25th email from Mr. Earley, where those -- some of the

13    charts were there, and that set forth the terms.

14    Q           Would you read the top to the first line of that

15    email to me?

16    A           Which email are you referring to?

17    Q           The July 20th email, Exhibit 1 or Exhibit A.

18    A           So the first line says,       "Stephen, as time is

19    very short, you should consider this as our final

20    offer.        If your client agrees to these terms, we will

21    send a letter to the Judge, indicating we have reached

22    an agreement.          This entire transaction must be

23    completed, including the transfer of funds,                  in time to

24    cancel the trial.''          That's the opening paragraph I just

25    read.

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 1   Q        Doesn't that statement presume that our position

 2   was, this is our final offer?

 3   A        It does say it was the final offer, but

 4    obviously it wasn't.

 5    Q       Did we subsequently agree to renegotiate the

 6    payment schedule?

 7    A       I don't know about renegotiate.               That suggests

 8    that there was an agreement in place and then we're

 9    modifying it.

10    Q       In your response to this document                   let me find

11    the right response.          Can you give me           in the response

12    to that, in Exhibit -- same exhibit.                Okay.     Page 5 of

13    Exhibit A.

14    A       So my response --

15    Q       The only objection you state in here is an

16    objection to the cash amount and to the payments

17    actually, to the payment schedule.

18    A       That's not correct.          The opening paragraph of my

19    response on July 23rd is two sentences.                  My opening

20    sentence says, "I'm in receipt of your demand to

21    resolve the litigation involving Tagnetics."                    Second

22    sentence says,       "While I and the Tagnetics team

23    appreciate the overture to try to reach a negotiated

24    resolution, the demand you put forward is not

25    realistic."

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 1   Q        And the next statement is, the next sentence?

2    A        Yeah, and I go into some of the discussion, but

3     I      I didn't qualify --

4    Q        The only thing discussed in this email is the

 5   amount of cash, not the terms and conditions.                    Why

 6   didn't you include any argument about the terms and

 7   conditions?

 8   A        That is not correct.          If you look at the email

 9    further down, there is a discussion about the default

10    judgment, so it's not only about monetary terms.                      I

11    remember that was one of the discussions that we were

12    having.     So it's not limited only to monetary terms.

13   And as the final email on July 26 reflected, there were

14    non-monetary terms addressed in that.

15    Q       Can I ask you about your use of the word carve-

16    out?    That doesn't seem to be -- is that a good legal

17    word to use?

18    A       Well, it was -- I don't know how to really

19    answer that.       Let me try my best.          So it says, the

20    phrase that we're using on the 26th says,                 "full mutual

21    releases, no carve-outs."            No exceptions would be

22    another way of saying it.

23    Q       What's the definition of the word carve-out?

24    A       I would describe it as an exception to whatever

25    is agreed upon in terms of whatever the scope of the

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 1   agreement is.        In this case, we're talking about

 2    releases.

 3   Q        Is it a good legal word?            I'm just asking you

 4   whether, as a lawyer, do you think that carve-out is a

 5    clear word to use, without knowing what the context in

 6   which carve-out is used?

 7   A        I've used that phrase before.              Other lawyers

 8    have used that phrase before.              It's not the first time

 9    by any stretch in the course of my career, and the

10    phrase "carve-out," at least referencing July 26th as

11    the point it follows -- I'm reading from my email at

12    3:27 p.m., which is on Exhibit A.               Full mutual

13    releases, parens, no carve-outs, so meaning no

14    exceptions to the mutual releases.

15    Q       But you're adding a context to it, and is carve-

16    out a word that's defined by context?

17    A       I think every word requires an examination of

18    context.

19    Q       Have you ever looked carve-out up in a

20    dictionary?

21    A       I have not.

22    Q       Then I can't ask you what it says.                But carve-

23    out -- I can't testify here.

24            One last question.          In the settlement agreement

25    you sent us on August 14th, why did you mention Ron

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 1   Earley's loan in the section on Ron Earley, if you had

 2   dismissed all of these terms?

 3   A        I know it was referenced at one point and we

 4    limited to the monetary terms, as the chart reflects on

 5   Mr. Earley's 25th email, and then again on Exhibit I,

 6    the email that was sent by Mr. Hager, showing the

 7    entirety of the monetary terms.              And I was just

 8    reiterating that that loan is not part of this, because

 9    it says,    "total settlement."          There's no other monetary

10    payments to be made.

11    Q       Exhibit --

12   A        It is not unusual in my experience, at least the

13    way I draft agreements, when there is some discussion

14    of some point about maybe some other side term,

15    whatever the case may be, or some other agreement

16    that's out there, I like to make sure when there's a

17    release, we're enunciating the entire list of things,

18    to make sure that there's no argument later on --

19    Q       So you

20    A           that I didn't include that or wasn't clear.

21    Q       So in your -- it was mentioned in the settlement

22    agreement that you were wiping out Ron's loan; is that

23    how you would characterize it?

24    A       I'd have to look back to the settlement

25    agreement that I drafted that I have a recollection of

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 1    including some references to other agreements.

 2   Q        If you did that with Ron Earley's loan, why

 3   didn't you do it with the other outside-the-contract

 4   dollar amounts that -- for instance, the Kayser

 5   Ventures, Core Technology license and also the other

 6    the deferred salary that was to be excluded in our

 7    document?

 8   A        Well, that's not accurate either, because if you

 9    look at your release and this language is mirrored in

10    Mr. Earley's release and it is mirrored in Mr. Hager's

11    release.      I'm looking at Page 3 of Exhibit B.                I don't

12    want to reread the entire paragraph, but I go through

13    an illustrative list of examples, whether known or

14    unknown, by statute, contract or otherwise, including

15    but not limited to any claims for -- so I'm now

16    articulating the various types of claims you or any of

17    your colleagues may bring against Tagnetics.                   Unpaid

18    wages, Romanette one.           Romanette two, unpaid notes or

19    other loans, including unpaid interest.

20    Q       All right.       I have no other questions.

21    A       Romanette three, unpaid dividends.                I think it's

22    important that I complete my testimony here.                    Profits

23    or other distributions.           Romanette four, unpaid

24    royalties.      Romanette five, breach of contract

25    regarding goods or services provided or rendered, or

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 1   equipment loaned to Tagnetics.               Romanette six, breach

 2   of express or implied contract or unjust enrichment.

 3                 DR. KAYSER:       Your Honor

 4                 MR. STERN:       Romanette seven

 5                 DR. KAYSER:        -- I'm done questioning.

 6                 THE COURT:       Okay.

 7                 MR. STERN:       I'm just answering the question

 8    that was asked.

 9                 THE COURT:       I understand.        Yeah, and you're

10    referring to the draft settlement agreement, and I

11    think we can read the rest of that.

12                 MR. STERN:       Okay.     They are a list of

13    illustrative types of claims.

14                 THE COURT:       You made your point in response

15    to his question.        No further questions of Mr. Stern?

16                 DR. KAYSER:       You guys?       Jon?

17                 THE COURT:       Mr. Kayser, you have no further

18    questions?

19                 DR. KAYSER:       Yes.     No further questions.

20                  THE COURT:      Okay, thank you.         Mr. Earley, do

21    you have any?

22                 MR. EARLEY:       No, I have no questions.

23                  THE COURT:      And if I don't state it, if they

24    -- the way I will phrase it is you can -- if Mr. Kayser

25    has asked questions, you don't need to ask the same

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 1   questions.       If there is additional testimony which you

 2   wish to elicit in your case, you may do so, but you

 3   don't have to re-elicit any testimony or evidence

 4    that's already been introduced.              But that -- and that's

 5   going to run through, throughout the day today.                     That's

 6   going to be the rule.           You don't need to re-elicit

 7    testimony or evidence that's already been elicited in

 8   anybody's else's case.            So with that caveat, anything

 9    additional you wish, Mr. Earley, to cross-examine Mr.

10    Stern on?

11                 MR. EARLEY:       No, sir.

12                 THE COURT:       Okay, thank you.         Same thing, Mr.

13   Hager, any additional

14                 MR. HAGER:       I do have some questions.

15                 THE COURT:       Yes, you may.

16                 MR. HAGER:       And I'm not revisiting the same

17    issue, but it is the same word, but only for a reason.

18                 THE COURT:       That's fine.

19    BY MR. HAGER:

20    Q       So Mr. Stern, who introduced the word "carve-

21    out" on our phone call at I believe it was 12:44 on

22    July 26, that phone call that was between Mr. Earley,

23    Mr. Kayser, myself and you?

24    A       I don't remember who brought that up.                 It would

25    be speculation, based on my general recollection of

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 1   discussions, but I have no specific recollection of

 2   that.

 3   Q        Do you remember specifically what the topic that

 4   we were discussing, that we had disagreement about,

 5    that led to actually you stating, okay, then no carve-

 6   outs?
 7   A        I'll assume for the moment, based on your

 8   question, that I was the one that brought up the phrase

 9   carve-outs.       But regardless, what I do remember about

10    the discussion about release was that I think it was

11   Mr. Earley who was pushing for the notion -- maybe Mr.

12   Kayser or you.         I don't remember who it was.             I think

13    it was Mr. Earley, was saying we need full releases,

14    referring to these other agreements that were in place,

15   because you didn't want to be -- you didn't want

16   Tagnetics to be able to sue on any -- on any

17    intellectual property rights, anything related to the

18    employment agreement.          You wanted complete freedom from

19   Tagnetics, and I had expressed some concern about that

20    at some point, so I said nevertheless, I'm duty-bound

21    to discuss this with my client, and I will do so.

22            I did bring it up with Tagnetics, and I did

23    report back, to my surprise, that Tagnetics did -- was

24    willing to agree to the full releases you requested,

25    provided it was mutual, meaning no carve-outs, full

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 1   mutual releases, and that's my general recollection of

 2   how that conversation occurred.

 3                 MR. HAGER:       I don't know if I can clarify

 4    that conversation now, or do I need to do it later?

 5                 THE COURT:       I mean, do you want to ask Mr.

 6    Stern any more questions about that conversation or are

 7    you saying you want to testify as to your recollection

 8    of that conversation?

 9                 MR. HAGER:       I guess I could ask a question,

10    maybe get the same --

11                 THE COURT:       You can ask him more questions.

12    BY MR. HAGER:

13    Q        Did you request that Tagnetics reserve the right

14    to have essentially a carve-out, or to reserve the

15    right to be able to come back and sue the Petitioning

16    Creditors in that phone call?

17    A        Well, one of the things I did explain -- I

18    understand now -- I think I know what you're talking

19    about.     At one point, when I expressed my initial

20    concern about giving the full mutual release to you and

21    Mr. Earley and Mr. Kayser, was that since there was

22    reference to some intellectual property issues, maybe

23    theft of trade secrets -- I may have probably given as

24    an example -- that's one I often use as an example, I

25    said I don't know if I could recommend that Tagnetics

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 1   agree to this, because I don't know what you guys have

 2    taken or not taken.

 3            So I   said, I will nevertheless discuss it with

 4    the client, but the client was willing to agree to

 5    that, again, provided that it's mutual and there were

 6    no carve-outs, which is what you were asking for

 7    yourselves and I remember then saying it's going to be

 8    mutual, and it will be all the way around, for all

 9    parties involved.

10    Q       So was this specific discussion that you wanted

11    to      you requested the reservation of Tagnetics to be

12    able to come back and prosecute us, if you will, at

13    some later date, and we disagreed with that

14    A       Right, and then I eventually said --

15    Q       -- request specifically?

16    A       And then I eventually said that there is no

17    reservation, it's full mutual releases, no carve-outs,

18    so meaning you got the release you wanted.

19    Q       But in the context of that discussion, to the

20    point of carve-outs in context, as you alluded is

21    proper, were we discussing our disagreement with

22    Tagnetics, reserving the right to come back and

23    prosecute us about our employment agreements,

24    participation in the Board, all the same points that

25    had been raised in the original July 20th proposal?

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 1   A        I don't know if it was in the context of the

 2   July 20th proposal.           That I don't -- I don't recall

 3    that being the case.          But again, you did express some

 4    concerns, that is correct, about what Tagnetics may

 5    come back after you on, and I had some concerns about

 6    that.    Nevertheless,       I reported back to Tagnetics, had

 7    a conversation with Tagnetics about it.                 Tagnetics

 8    ultimately agreed to the concession you wanted

 9    Tagnetics to make, which was the full release of the

10    three of you, and in return there would be a full

11    mutual release of Tagnetics, as well, which is what is

12    on that term sheet on July 26th, as exactly as we

13    discussed.      That phrase is something that we discussed

14    and made sure that that was part of the discussion.                      It

15    wasn't just one-sided.           It was both.

16    Q       The other question I guess I have for you is in

17    your final emails on the 26th, as we call the flurry of

18    emails trying to get to the deadline, which would have

19    postponed the trial, did you label any of those emails

20    as this is a term sheet?

21    A       No, I did not.        I just

22    Q       You have been referring to it as a term sheet,

23    which I understand -- my experience with term sheets

24    and raising funds years ago for Tagnetics was, you

25    know, it's specifically calling everything out, but in

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 1    those emails you refer to them as key terms.

 2   A        Yes.

 3   Q        Which would key terms allude to the fact that

4     that's a portion of the agreement?               There are key terms

 5    to an agreement and there are other terms to an

 6   agreement?

 7   A        Well, there are material terms and there are

 8   other terms, as written in the draft settlement

 9    agreement, that as far as I could tell, there weren't

10    any objections to, for example, some of the other terms

11    in the settlement agreement.             The Section 18 about

12    waiver, Section 17 about prevailing party status.                     Now,

13    that was in the July 26th email, but those are pretty

14    common types of terms in settlement agreements that

15    I've entered into.         And as I referred to in the email

16    on the 27th, saying that these are the key terms, but I

17    said we have an agreement in place that will be

18    documented more thoroughly in a settlement agreement.

19    Referring to that they will be more elaborated on in a

20    written agreement, which is what I provided to the

21    three of you on August 17th.             I'm bad with dates, so I

22    have to think about that.

23    Q       So going back to your response to the July 20th

24    proposal, you responded July 23rd.               Did you

25    specifically address or specifically state that the

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 1    items listed as other items needing to be in the

 2    settlement, did you specifically say those were

 3    rejected?

 4   A         I'm sorry, can you ask the question again?

 5    Q        Sorry, trying to read my notes on the fly here.

 6    So when you responded to Mr. Kayser's proposal of the

 7    20th, did you specifically reject any of the terms

 8    below, any of our requested terms that were below the

 9    cash payment schedule at the top?               Did you specifically

10    say those other items are no longer being considered,

11    or are not to be considered?

12    A        I think the -- what I did write was your demand

13    put forward is not realistic.

14    Q        Which is that -- that's a fairly general

15    statement, right?

16    A        It is, but it refers to the entirety of the

17    demand.

18    Q        But it would beg the next statement to be

19    clarification of what you disagree with, correct?

20    A        Well, I disagreed with the entirety of the

21    demand.

22    Q        I mean, if I said the weather was terrible

23    outside, you'd say well, what's terrible about it?

24    Right?

25    A        Not necessarily.

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 1   Q         So, yeah, so I can't testify, so I can't go much

 2    further.       But so did you specifically talk about in

 3    Paragraph 2 the shortness of funds or the lack of

 4    funds,    if you will, of Tagnetics, at this point in

 5    time, being able to make a payment at this point in

 6    time?

 7   A         That's one of the things I discussed, but I also

 8    discussed the concept of the default judgment that was

 9    being discussed, which is not a monetary term.                     So it

10    wasn't limited only to the money that                   we were not

11    discussing only money in that email.

12    Q        But was there any reference to the KBL Core

13    agreement, the loan for Mr. Earley or --

14    A        No.

15    Q        So nothing for us to believe that you had

16    rejected those items that were being proposed on the

17    July 20 --

18    A        Well, I don't know how else to interpret "The

19    demand you put forth is not realistic.''                  That's

20    rejection of the term.           Now, furthermore, your response

21    -- in fact,      it was Mr. Earley,        ''Here's our offer, after

22    your email this morning.            Let us know if there's any

23    interest."       It doesn't refer to any other terms.                And

24    then after that the next email I got was -- or another

25    email where, again, there was no monetary terms

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 1    involved, but it was from Mr. Earley, on July 25th at

 2    1:25 p.m., it says,        "Here is my counter proposal."              And

 3    no other terms other than monetary terms in there.

 4   What other non-monetary terms am I supposed to be

 5    interpreting into that counter proposal on July 25th?

 6    I don't know.       There's no incorporation to the July

 7    20th email, no reference made to terms in the July 20th

 8    email, and there were two or three counter -- two

 9    counter proposals, if I'm doing my math correctly, that

10    didn't refer to any other non-monetary terms between

11    now -- the July 20th -- and at least I'm looking at

12    July 25th.      And again, the -- not once, not twice, but

13    three times in the confirmation emails on July 26th,

14    there were no other non-monetary terms included in the

15    emails from any of you.

16            In fact, the email from you on                 at 4:36,

17    Exhibit I,     just to make sure there's no confusion.

18    Now, granted, that's the payment schedule, but if there

19    is some other non-monetary terms that I'm supposed to

20    be considering,       I didn't see that in any of those three

21    emails.

22    Q       I just want to point out on that schedule, I was

23    correcting a typo, so on one of the charts that was

24    sent under my name, the first item was 300.

25    A       I saw that.       But you also added

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 1   Q        There were three zeros, so I went ahead and just

 2

 3   A        I saw it, but you also added "total" in

 4   capitals.       I mean --

 5   Q        I do spreadsheets every day and so I always do

 6    "total" in capitals so I can see it.                I didn't want to

 7    read a lot into that total, but that's beside the

 8   point.      Did you get an email from me on July 30th?

 9   A        I don't know.

10    Q       It's in our Exhibit 5, which I can pull out.

11   A        I don't know --

12                 MR. KRACHT:       Objection.

13                 MR. STERN:       -- if it was sent to me.

14                 MR. KRACHT:        It's outside the scope.           It's

15    outside the scope, Your Honor.

16                  THE COURT:      Any response to the objection,

17    Mr. Hager?      Basically what he's saying is your question

18    is outside the scope of his -- what he testified to on

19    direct examination.          It's beyond what he testified to

20    on --

21                  MR. HAGER:      I guess I'm trying to make the

22    point that in his statements earlier he said that we

23    were making new claims, that we had buyer's remorse, if

24    I remember your phrasing, and we were introducing new

25    monetary demands at that later date.                 Is that correct,

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 1   you said

 2                 MR. STERN:       Yes, as just what I testified to,

 3   I would say that's a fair description.

 4                 MR. HAGER:       And so I was trying to make the

 5   point that on that Tuesday, which was the day after the

 6   weekend that we were expecting to see some kind of

 7   draft agreement

 8                 THE COURT:       Not -- we're kind of getting into

 9    testimony.

10                 MR. HAGER:       I'm sorry.       I can cover that

11    later.

12                 THE COURT:       Now, if you have that -- if you

13   have that exhibit and you want to present it to Mr.

14   Stern and ask him if he received that, you may do that.

15   That's certainly, I think, well within the scope of

16   cross-examination, if it relates to his direct

17    testimony.      So to that extent, I'm going to overrule

18   your objection, Mr. Kracht.

19                 MR. HAGER:       I apologize for muddling through

20    this.     I'll do my best.

21   BY MR. HAGER:

22   Q         So this is the email that was sent on -- let's

23    see if I can show this -- Tuesday, July 30th, at 9:33

24   a.m.
25   A         Can you just do me a favor and put the entirety

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1    of that first page on, so I can see the full string?

2    Like, does this

3    Q        Well, the header, this is just wrapped on to

4    another page.          So that was the table on this as a

 5   follow-up.

 6                 THE COURT:       Do you have a hard copy you can

 7   present to      - -

 8                 MR. KRACHT:       And what exhibit is this?

 9                 MR. HAGER:       This is part of our Exhibit 5.

10                 THE COURT:       Does somebody have a hard copy

11    for the witness?

12                 MR. HAGER:        Is this for you, Your Honor?

13                 THE COURT:       We will need copies of any

14    exhibits you seek to introduce.

15    BY MR. HAGER:

16    Q       This is still a part of that thick Exhibit 5,

17    which was all the emails.

18                  THE COURT:      Okay.     Mr. Kracht, do you have

19    that?

20                 MR. KRACHT:        Exhibit 5, correct?

21                  THE COURT:       Yeah.    I just want to make sure

22    you have that.

23                  MR. KRACHT:       I don't believe there are

24    exhibit stickers, but they appear to -- did you

25    identify your exhibits like at the top of a document?

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 1                 MR. HAGER:       Yes, at the first page it was

2    identified, yes.         So it follows the last table here.

 3   July 30th

4                  MR. KRACHT:       This is still part of Exhibit 5?

 5                 THE COURT:       If you have the files, the

 6   exhibit -- proposed exhibits they filed in Document

 7   112-5, it would be 112-5, Page 1 of 24.

 8                 MR. KRACHT:       For some reason, Your Honor, I

 9   don't have that in what I printed from what they filed

10   electronically.         I've got 3, 4 and I'm not running into

11    that page of Exhibit 5 for some reason.

12                 THE COURT:       What page of Exhibit 5 is that

13   you have on the document camera, Mr. Hager?

14                 MR. HAGER:       Looks like Page 16 in this copy.

15                 MR. KRACHT:        I'm going off of, Your Honor,

16    the exhibits that are time stamped, based on what they

17    filed with the Court.          And what -- he's referring to a

18    document that has no court filing marks of any sort, so

19    I think there's some problem, unless I missed it, and I

20    apologize, if I did.

21                 MR. HAGER:       Right here, this is where it

22    starts.     It's this, understood from Joni Behnken's

23    email and then, unfortunately, your printout, you ran

24    out of ink.       That's the discussion.           I'll try to make

25    it quick.

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 1                 MR. KRACHT:       Looks like we have it but

 2    there's some copying issues from what we got off the

 3   Court file.

 4                 THE COURT:       Yeah, I'm not sure -- Mr. Hager,

 5    I'm not sure when you filed these or whoever filed

 6    these with the Court, that in the process, that it all

 7   got copied and into the system.

 8                 MR. HAGER:       He has the document.           It's just

 9    the printout is faded.

10                 MR. KRACHT:       You can't read it.

11                 MR. HAGER:       Ran out of ink or something.

12                 MR. KRACHT:        I don't think it's on our end.

13    I think it's -- I mean, I guess we could look at what

14    the Court shows as well, but the document he's

15    referring to, the text on the next page after that is

16    virtually illegible for several pages actually.

17                 THE COURT:       Yeah.     I think there was a

18    problem

19                 MR. KRACHT:       How it was scanned when it was

20    fed in.

21                  THE COURT:      Yeah, because what I'm looking at

22    in the court file exhibits does look significantly

23    different from what's on the monitor.

24                 MR. HAGER:       Can I approach, Your Honor,            just

25    show you what we have?

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 1                 THE COURT:       Absolutely, yeah.

 2                 THE CLERK:       It is listed under 6, but it is

 3    not legible.       It appears to be a scanning issue.                Your

 4   Honor, if we took a recess I could probably retrieve it

 5    from the Clerk's office.

 6                 THE COURT:       Yeah, why don't we take a short

 7    recess to do that?         The Court is going to take a short

 8    recess to retrieve the document from the Clerk's

 9    office.

10                 THE CLERK:       Court is in recess.

11                  (Off the record from 11:50 a.m. until 12:06

12    p. m.)

13                  THE CLERK:      Court is again in session.              You

14    may be seated.

15                  THE COURT:      Okay.     We left off with Mr. Hager

16    trying to cross-examine Mr. Stern on what was part of -

17    - an email that was part of, I believe, the Petitioning

18    Creditors' Exhibit 5, and there was I think a scanning

19    problem or issue with the Petitioning Creditors'

20    exhibits at the Court, but I believe, Mr. Kracht, that

21    they did email these exhibits to you; is that correct?

22                  MR. KRACHT:       I wasn't able to confirm that,

23    Your Honor, and it's very possible that that occurred.

24    I don't want to say that they weren't.

25                  MR. HAGER:      We did.

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 1                 THE COURT:       Okay.     Mr. Hager says they were

 2   emailed to you.         Is there any objection at this point

 3    as to Mr. Hager's examining Mr. Stern on that -- was

 4    that a July 30th?         Is that right?

 5                 MR. HAGER:       That's correct.

 6                 THE COURT:       Email?

 7                 MR. KRACHT:        I have that right now.           And no.

 8                  THE COURT:      All right.       You may proceed, Mr.

 9    Hager.     Thank you.

10    BY MR. HAGER:

11    Q        So this email here, I want to know if you had

12    received it on July 30th?

13    A        I have no specific recollection that I did, but

14    I have no basis of saying that I did not.

15    Q        So then whether you can answer or not, whether

16    you read the attachment that was attached to that

17    email?

18    A        I have no recollection one way or the other.

19    I'm not saying that it wasn't sent to me.                   I don't

20    specifically recall doing i't.

21    Q        Can you see in this attachment the --

22    A        You have to pull it up a little bit for me to

23    see the entirety of it.            Now I can.

24    Q        There you go.       And that's -- there's a whole

25    other page, but anyway, as it's written here -- I guess

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 1   I can put the whole thing -- basically this attachment

2    looked very similar to the original proposal on July

3    20th.

4    A         I don't know.       I'd have to do a comparison, but

 5    in my mind, even if it did, it doesn't matter, because

 6    that wasn't part of what we agreed to on July 26th.                      I

 7    remember -- what I do remember, after we reached

 8   agreement on the 26th, there were some emails back and

 9    forth, and admittedly, I didn't pay close attention.                          I

10    had just gotten back from vacation.                I'm trying to get

11    up to speed.       We had the agreement in place.              My sole

12    focus was to comply with the Court's directive to get

13    the agreed order in place, and then work on the

14    settlement agreement afterwards.

15             So I remember there's some emails that I

16    received from one or some combination of you guys, but

17    I have no recollection of what the specifics were and I

18    didn't        I remember, whatever I saw, I didn't really

19    pay close attention to.

20    Q        Okay.    So you don't think you read this email

21    then?

22    A        I may have, but if I did I didn't really process

23    it.     I would say I may have taken a quick skim through,

24    but it wasn't something I was planning on paying

25    attention to, reading carefully or paying close

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 1    attention to.       We had the agreement in place.               I was

 2    worried about the agreed order, as far as this case was

 3    concerned.      That was my focus,         that I remember being

 4    the case.

 5    Q        So when you received our concerns about the

 6    draft agreement, did you say that we had added new

 7    terms?

 8    A        I remember having those discussions or that, you

 9    know, exchange, after I sent the draft agreement.                     I

10    have no recollection of doing that beforehand.

11    Q        But in your testimony didn't you say we had

12    added new terms, things that were never discussed?

13    A        Yes, and even based on that email there,

14    assuming that's what was sent, I would still say those

15    are new terms from what we discussed, because the

16    agreement on the 26th didn't reflect those terms.                     And

17    as you may recall from the email strings at one point,

18    you cut off or it wasn't you specifically, Mr. Earley

19    said, cut off discussions, saying no chance, see you in

20    court.     Then I asked for a counter proposal and, again,

21    there were counter proposals, but no reference to any

22    of these other terms.

23                  MR. HAGER:      So -- I don't think I can say

24    that.     I guess I'll cover that in my -- in our

25    examination later or witness testimony.                  Okay.    I have

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 1   nothing further right now.

 2                 THE COURT:       Thank you, Mr. Hager.           Any

 3    redirect examination, Mr. Kracht?               You may proceed.

 4                REDIRECT EXAMINATION OF STEPHEN STERN

 5    BY MR. KRACHT:

 6   Q         Directing your attention to Tagnetics Exhibit A,

 7    Page 3.

 8   A         Mm-hmm.

 9    Q        It's the email at the bottom of that page from

10    Mr. Earley to you, dated July 24th at 7:43; is that

11    what you were referring to, where they cut off all

12    discussions, terminated any discussions?

13   A         Yes, that's what I interpreted their response to

14    be.     And, in fact,     if you look at my email above that,

15    my email on the 25th at 12:42 p.m., it's exactly the

16    phrasing I used.         It seems silly, and quite frankly

17    odd, to simply cut off negotiations.                I thought we were

18    done.     Whatever transpired is over, and I'm trying to

19    revive discussions at that point, asking for a

20    counteroffer.

21    Q        And you're starting anew from that point?

22    A        That's the way I thought.

23                 MR. KRACHT:       Okay.     Nothing further.

24                  THE COURT:      Thank you, Mr. Kracht.           Any

25    recross-examination of Mr. Stern, Mr. Kayser?

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 1                 DR. KAYSER:        No.

 2                  THE COURT:      Mr. Earley?

 3                 MR. EARLEY:        No.

 4                  THE COURT:      Mr. Hager?

 5                 MR. HAGER:       No.

 6                  THE COURT:      Okay.     I've got a couple quick

 7    questions, Mr. Stern, and then everybody is willing to

 8    ask any additional questions based upon my questions.

 9    There are just two questions.              One, the payment

10    schedule refers to a liquidity event.                 What would you -

11    - what's your understanding as to what liquidity event

12    means?

13                  MR. STERN:      We never discussed those details.

14    So when I put together the draft agreement, Your Honor,

15    there is a provision in the agreement, Section 2 on

16    Page 2 of Exhibit B, that -- where I provided a

17    definition of a liquidity event.               And my recollection

18    from the objections and concerns that I received from

19    the alleged Creditors, no one really objected to that

20    definition that I included.             It is a similar definition

21    -- I've written many agreements in my career.                    This

22    doesn't come directly from another one, but it adopts

23    concepts that I've used before in other agreements, and

24    I wanted to make it as, you know, consistent with what

25    we were -- you know thinking of as what would be a

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 1   liquidity event and what would be an accurate and fair

 2   description of that, and I think that's captured in

 3   Section 2.

 4                 THE COURT:       Okay, thank you.         Well, that

 5   answers that question for me.               I'm assuming then from

 6   what you just testified, that your definition of

 7    liquidity event, what was intended, in your

 8    understanding of liquidity event, in that schedule, was

 9    what you have in Paragraph 2 of your draft settlement

10    agreement?

11                 MR. STERN:       Yes.    This is what I wanted to

12    use as the definition, and I think it fairly and

13    accurately describes the types of liquidity events that

14    would be potentially in play for Tagnetics.                   And so to

15    -- I remember that was one of the conditions that they

16    wanted, they being the alleged Creditors, wanted for

17    the -- on the payment schedule for a certain event to

18    occur.     And I tried to -- my best to capture what the

19    concept was.       Granted, there were no details                 to be

20    fair,    there were no details that were discussed between

21    us as to what would constitute a liquidity event.                      It

22    was just a phrase that was used, and I tried to put

23    reasonable meat on the bones to fairly and accurately

24    describe what that might be, to capture that event, if

25    it were to occur.

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 1                 THE COURT:       Thank you.      The second question

 2   or area is some or all of the Petitioning Creditors, I

 3   understand, I believe still have stock or equity

 4    interest in Tagnetics.           From the July 26, if there was

 5   a July 26th settlement, what's your position as to the

 6    impact of that settlement agreement on the stock or

 7   equity interest?

 8                 MR. STERN:       That is a fair question that I

 9   don't think is really captured in the agreement.                      The -

10    - we didn't ask for them to relinquish their stock

11    certificates, because that wasn't part of the

12   discussion, but it was to relinquish any rights that

13    the release does capture, the relinquishment of any

14    rights they might have had vis-a-vis those -- whether

15    it be payment of profits, dividends or anything prior

16    to that date, I think is certainly captured in the

17    essence of full mutual releases, no carve-outs.                    But in

18    terms of what they had to do with their stock

19    certificates was not covered.

20                 THE COURT:       Thank you.       Those are the only

21    questions the Court had for Mr. Stern.                 Any questions

22    based upon my questions, Mr. Kracht, for Mr. Stern?

23                 MR. KRACHT:       No, Your Honor.

24                 THE COURT:       Okay.

25                 MR. STERN:       May I step down, Your Honor?

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 1                 THE COURT:       Hold on.      Mr. Kayser, any

2    questions for Mr. Stern, based upon the questions I

 3    just asked?

4                  DR. KAYSER:       No.

 5                 THE COURT:       No?    Mr. Earley?

 6                 MR. EARLEY:       No.

 7                 THE COURT:       Mr. Hager?

 8                 MR. HAGER:       No, sir.

 9                 THE COURT:       Thank you.       Mr. Stern, you may be

10   excused.

11                 MR. STERN:       Thank you.       It's been interesting

12    sitting on this side of the microphone.

13                 THE COURT:       It is different.         I have been

14    was there as an attorney years ago, and I agree, it is

15    a much different experience being on the other side.

16                 Okay.     Mr. Kracht or Mr. Stern, any other

17    witnesses you wish to call in Tagnetics' case?

18                 MR. KRACHT:       No, Your Honor.

19                  THE COURT:      Any other evidence then you wish

20    to introduce?        We've admitted all your exhibits except

21    E.    We've got Mr. Stern's testimony.              Any other

22    evidence you wish to introduce?

23                  MR. KRACHT:      Nothing further, Your Honor.

24                  THE COURT:      Okay, thank you.         What time is

25    it?

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 1                 THE CLERK:       It's 12:17, Your Honor.

2                  THE COURT:       12:17.     I think we -- now would

 3   probably be a good time to break for lunch.                    As my wife

4    would let all of you know, it's in your all best

 5    interest to let the Court take a lunch break.                   Whoever

 6   came up with that Snickers' commercial with the prima

 7   donnas in the Snickers' commercial, I think must have

 8   known me.       At least my wife would say they knew me.                  So

 9    I hopefully will be much better behaved after getting

10    some nourishment and taking a short break for that.                      So

11   why don't we do that now.              But I'll leave it up to you

12    how long you think we -- you wish, because I know all

13    of you probably have flights and so forth you need to

14    catch, so the -- taking a lunch break is not

15    negotiable, but the length of the lunch break is

16    negotiable.

17                 MR. STERN:       Your Honor, to the point about

18    leaving, I booked my flight as late as possible today.

19    It's out of Cincinnati.           The latest I could fly out of

20    Dayton was like 2:30, and I thought that might be a

21    problem, but I probably have to be on the road back to

22    Cincinnati -- I realize we do have to get through this

23    hearing, probably by about 3:00, to catch my flight, to

24    make sure I return the car on time and everything.

25                  THE COURT:      Okay.

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 1                 MR. STERN:       I think we should be able to

 2   finish in that time, but I want the Court to be aware,

 3   so we can plan accordingly.

4                  THE COURT:       Yeah.

 5                 DR. KAYSER:          Excuse me.    What time is your

 6    flight out of Cincinnati?

 7                 MR. STERN:       5:20.     And it's about an hour and

 8   15 minutes - -

 9                 DR. KAYSER:          We'll do our best to be brief.

10                 THE COURT:       Okay.

11                 MR. STERN:       I    don't know how much time you

12   guys were going to use, but --

13                 DR. KAYSER:          I think we'll be brief.

14                 MR. STERN:       So we should be on track then.

15                 THE COURT:       Why don't we plan on being here

16    back in 30 minutes?          We can for sure getting started by

17    one o'clock, and then Ms. Behnken can -- and court

18    personnel can guide you to different places you can go.

19    Thank you.

20                 THE CLERK:       All rise.

21                  (Lunch break from 12:20 p.m. until 1:03 p.m.)

22                  THE CLERK:      Court is again in session.             You

23    may be seated.

24                  THE COURT:      Okay.     Before we took an

25    adjournment for lunch, Tagnetics rested its case and we

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 1   are now, I believe, prepared for the Petitioning

 2   Creditors' cases.          Mr. Kayser, or do one of you -- it

 3   doesn't have to be Mr. Kayser.               Who wishes to proceed

 4   with their case first?

 5                 DR. KAYSER:       Your Honor, I will take the

 6   witness stand and present a narrative.

 7                 THE COURT:       You may do so.

 8                 THE CLERK:       I just remind you, sir, you're

 9    still under oath.

10                 DR. KAYSER:       Understood.

11                 DIRECT TESTIMONY OF KENNETH KAYSER

12                 DR. KAYSER:       Let me start at the beginning, a

13    brief introduction of who I am.              I got my Ph.D. from

14    Purdue University in 1973.             I was -- after that became

15    an assistant professor at Purdue, Director of the

16    Center for Applied Stochastics and a Professor in the

17    Department of Aeronautics and Astronautics

18                  I also was the founder of Tagnetics'

19    predecessor 20-some years ago.              I was the name on the

20    patents for the technology.             And ultimately that

21    company was sold to Hobart and then re-acquired and

22    went forward under another name, was reorganized one

23    other time, to become Tagnetics.               Ron Earley was the

24    president of that company.             I was the chairman and I

25    have been a director of this company throughout the

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 1   history of the company.

 2                 As of the beginning of this year, I resigned

 3   as a director, with the express statement that we would

 4    take legal action against the company, if the issues

 5    concerning our contracts, among other issues with

 6    creditors, were not resolved quickly.

 7                 Three months later we filed the petition, and

 8    that's how we got to where we are today.

 9                 On July 19th we received a request from Mr.

10    Stern to make a proposal to settle this.                  The three of

11    us sat down or by phone conference agreed on what the

12    terms of that settlement proposal should be, and that's

13    expressed in my July 20th email.               We agreed going into

14    this those were our terms.

15                 A couple days after I sent that email, we got

16    a response from Mr. Stern, which has been introduced

17    into evidence previously, requesting a change in the

18    payout schedule, but not disputing the total amount we

19    agreed to settle for, which was, incidentally,

20    approximately 40 percent, which we thought was

21    contractually due to us.

22                  I wasn't particularly in favor of doing a

23    settlement at all, given my history of asking for a

24    settlement previously, but I agreed to go along with

25    the other two petitioners, as they had been long-time

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 1   employees of our company, and I wanted us all to be

 2   more or less on the same page.

 3                 The terms of that July 20th letter, as far as

 4   we knew, were never disputed except for the time table

 5   on the payment of the funds.              I was not involved in the

 6   negotiation, because I had agreed that I would -- it

 7   would be up to the other two guys to determine what

 8    that payout was to us.

 9                 When we first got the request to renegotiate

10    the payout terms, the three of us once again had a

11   conference call to agree and what we agreed to do was

12   allow Ron Earley to renegotiate the terms of that

13   payout.      We also agreed that the other terms were in

14    inviolate.      And we did not authorize Ron -- Mr. Earley,

15    nor did we expect there to be any renegotiation of

16    those terms.

17                 We talked often over the next several days,

18    during the craziness of many conversations back and

19    forth concerning the amount.             In general, I didn't have

20    any significant input into that, other than to stress

21    in every conversation that the terms and conditions,

22    which we had outlined on July 20th, must be included in

23    any settlement agreement.

24                 On Friday, a few hours before I guess around

25    3:00 or 3:30, I did hear that they had reached an

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 1   agreement on the payout schedule, and both Ron Earley

 2   and Jon Hager confirmed to me that they had not

 3    renegotiated any other term, nor were they brought up.

4    And when Joni called me at 5:30 that evening, or not

 5   evening, five o'clock -- I'm not sure of the exact time

 6   Joni called, but it was later than I expected her to be

 7   here, I told her that I had agreed to go along with

 8   whatever Mr. Earley and Mr. Hager had agreed to.                      She

 9    told me that they had both sent a note to the Court.                       I

10    don't recall exactly how that was sent.

11                 So I agreed to go ahead and cancel the trial

12    at that time, given the assurances I had received from

13    both Mr. Earley and Mr. Hager that the terms had not

14    been discussed, and had not been agreed to, any changes

15    in those terms and conditions.

16                 When I finally got a chance to read the email

17    that Mr. Stern had sent to me at 3:30 on Friday -- I

18    had been out doing some things.              I don't even recall

19    what errands I was running, but I wasn't able to see

20    the email until 5:30.           It said two things of

21    significance to me.

22                 One is it had this vague term of carve-outs.

23    Carve-out is a word, when I -- I wasn't very happy with

24    what I got back from him.            Being a lawyer, I expected

25    there to be more clarity in what he sent back, rather

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 1    than less.      I Googled carve-out, looking for the

 2    definition of carve-out, because I wanted to understand

 3    what he was trying to say.            And basically there is no

 4    specific definition of carve-out.               It's entirely a

 5    definition due to context.

 6                 And while from our perspective, all three of

 7    us and mine, our perspective was that we were

 8    negotiating from the July 20th document.                  And I

 9    understood why both Mr. Hager and Mr. Earley would have

10    interpreted no carve-outs as meaning no changes to our

11    provision, other than the payment schedule, which was

12    being negotiated.

13                 However,     in that 3:30 email on Friday from

14    Mr. Stern, he also committed to getting a draft of the

15    settlement agreement over the weekend done.                   When we

16    did not receive that settlement agreement on Monday,

17    the three of us had another conference call, and said,

18    you know, there's been no clear restatement of the

19    terms of the settlement we had agreed to.

20                 As a result of receiving no communication

21    from Mr. Stern on Monday, the three of us selected Jon

22    Hager to write a response, reiterating the terms which

23    we had agreed to.         That was sent on Tuesday.             I don't

24    know the date.
25                  The Judge, Your Honor, you had ordered that

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 1    there be, I believe, two weeks from the Friday for us

 2    to get an agreed order.            We did not hear from Mr.

 3    Stern.     We saw an agreed order, which he said we had to

 4    sign.     We didn't believe we had a clear agreement.                     We

 5    refused to sign that agreement.               We later received the

 6    draft agreement, which he had sent, which we didn't

 7    agree to and we didn't              we never signed an agreed

 8    order, because we did not have an agreement.

 9                  We consequently had another conference call

10    with Your Honor, and -- excuse me for a second.                     I have

11    to think about the time line.              I'm old.      I can't see

12    well and I don't hear well, so it takes me a while to

13    look at this stuff.

14                  We had another conference call with you to

15    discuss -- during which you set a new deadline for when

16    we needed to have the agreement put together by.                     We

17    did not have the agreement together by then, and there

18    was no negotiation.          There were very large gaps which,

19    frankly,     I can't testify to.          I'm sure that Mr. Hager

20    will testify to the time line of the gaps, when we

21    never heard -- we repeatedly reiterated the terms and

22    conditions under which we were willing to settle.                      We

23    never saw any edit to the draft agreement concerning

24    we had no conversation with working out our

25    differences.

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 1                  I have negotiated many contracts in my life.

 2    I've always been chairman of the board of companies or

 3    an executive of companies, and I'm used to doing

 4    negotiated settlements, and this did not follow the

 5    normal course, in which if you had a disagreement, you

 6    discuss it.

 7                  Because of that, when we were approaching the

 8    date where for a ruling on the motion to enforce

 9    settlement, I had my business attorney in Roanoke,

10    Virginia do a redline version of the draft agreement,

11    and I gave him two documents, the money -- the money

12    timetable and the original July 20th letter, and I

13    asked him to redline this agreement, based on those two

14    documents, without giving him any further guidelines on

15    what to do.       And that's the redline version I presented

16    to you.

17                  That document reflects our -- what we thought

18    we agreed to on Friday, when we agreed to postpone the

19    trial.     There's also a clean version that was

20    presented.       And as of this date, even though part of

21    our verbal agreement was that it would be done quickly,

22    and it's now been three months, we will still go along

23    with what we agreed to as expressed by those documents.

24                  I do not believe that there has been any real

25    interest in settling this, and that this has simply

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 1    been an effective way to further delay the trial.                     And

 2    I look forward to the Court setting a trial date, so it

 3    has a chance to review the evidence as to the

 4    insolvency of Tagnetics.

 5                  THE COURT:      Okay, hold on, Mr. Kayser.             Are

 6    there exhibits which haven't already been introduced,

 7    which you wish to introduce in your case?

 8                  DR. KAYSER:       I'm sorry, Your Honor.           I

 9    couldn't understand.          Are there exhibits?

10                  THE COURT:      Are there exhibits which haven't

11    already been introduced?

12                  DR. KAYSER:       All the exhibits I'm quoting

13    have already been -- already come into evidence.

14                  THE COURT:       Okay, okay.      All right.       Okay,

15    now, stay up there because they have the right to

16    cross-examine you.          I assume you're done with your

17    direct examination.

18                  MR. EARLEY:       Your Honor, I guess to follow up

19    on that question, the exhibits that he mentioned were

20    ones that were submitted to the Court, but do they need

21    to be introduced right now?

22                  THE COURT:       Yes, they need to be introduced.

23                  MR. EARLEY:       So 4 -- did you take them up

24    there with you?

25                  DR. KAYSER:       Yes.

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 1                  MR. EARLEY:       Exhibit 3 and Exhibit 4.

 2                  DR. KAYSER:       Thank you.

 3                  THE COURT:      Now, this is kind of the awkward

 4    part.     I think we're in Mr. Kayser's case.

 5                  MR. EARLEY:       Okay.

 6                  THE COURT:      So if he wants those admitted,

 7    he's going to have to

 8                  DR. KAYSER:       Your Honor, all of these -- the

 9    two documents have been previously sent to the Court in

10    the response, but we would like to enter them into

11    evidence.

12                  THE COURT:       Can you provide them to Mr.

13    Kayser so he can identify them for the Court, while

14    he's on the witness stand?

15                  DR. KAYSER:       Yes, this is Exhibit 1.            This is

16

17                  THE COURT:       Hold on.     Slow down.       Slow down.

18    What is Exhibit 1?          Can you tell me

19                  DR. KAYSER:       Exhibit 1 is my original email

20    from July 20th responding to the request for a

21    settlement offer.

22                  THE COURT:       Okay, now that I think has been

23    admitted as part of Exhibit A.               Is that right?

24                  MR. STERN:       Yes, Exhibit A, yes.

25                  THE COURT:       So everybody good with just

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 1    having it admitted as part of Exhibit A?

 2                  MR. KRACHT:       Yes.

 3                  THE COURT:      Exhibit 2 is the modified payment

 4    schedule, and that was part of an exhibit that has been

 5    already submitted.          I don't recall the exhibit number.

 6                  THE COURT:       Is that part of Exhibit A or --

 7                  MR. KRACHT:       I think that was I.

 8                  THE COURT:       I?

 9                  MR. EARLEY:       Yes, Exhibit I has that payment

10    schedule in it.

11                  THE COURT:      All right.

12                  MR. STERN:       Is Exhibit 2, if I'm

13    understanding correctly, it's labeled -- I've got

14    Exhibit 3.       I'm sorry, the email.           I'm getting

15    confused.      Exhibit 2 is the email from Mr. Hager to me

16    on July 26th on his email -- his proposal, with total

17    settlement at 4:35.          I think it was 4:36, on Exhibit I

18    for us.

19                  MR. EARLEY:       It is Exhibit I, yes.

20                  MR. STERN:       So that one is already admitted,

21    as well.

22                  THE COURT:       All right.      We're in agreement

23    that that exhibit has been admitted as Tagnetics'

24    Exhibit I; is that right?

25                  MR. EARLEY:       So the next one --

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 1                  DR. KAYSER:       The next two exhibits haven't

 2    been entered.        That's Exhibit 3 and Exhibit 4, and

 3    these -- Exhibit 3 is the redline of the draft

 4    agreement that was sent to us by Mr. Stern, and Exhibit

 5    4 is a clean version of that same contract.

 6                  THE COURT:      Okay.     And are you seeking

 7    admission of those two documents?

 8                  MR. EARLEY:       Yes.

 9                  THE COURT:      Mr. Kayser?

10                  DR. KAYSER:       Say it again.        I'm sorry, Your

11    Honor.     I'm very hard of hearing.

12                  THE COURT:      Are you seeking admission - -

13                  DR. KAYSER:       Yes.

14                  THE COURT:       - -   of those two documents?

15                  DR. KAYSER:       Please.

16                  MR. STERN:       There's no email attached to

17    them, Your Honor, but we're willing to submit to the

18    admission of those exhibits, provided that there's an

19    acknowledgment that those were sent after July 26th.

20    If that's what the understanding is, then we will not

21    object to being admitted.

22                  THE COURT:       Are you in agreement those were

23    sent after July 26th?

24                  DR. KAYSER:        Oh, absolutely.        These documents

25    were not done until a week before the hearing on the

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 1    motion.
 2                  THE COURT:      Okay, all right.         Then there's no

 3    objections to admission -- those are labeled Exhibits 3

 4    and 4?

 5                  DR. KAYSER:       Correct.

 6                  THE COURT:      To the admission of the

 7    Petitioning Creditors' Exhibits 3 and 4?

 8                  MR. STERN:       That's fine, as long as they

 9    acknowledge when it was sent, we're fine with that,

10    Your Honor.
11                  THE COURT:       Okay.    Then Exhibits -- the

12    Petitioning Creditors' Exhibits 3 and 4 are admitted.

13                   (Petitioning Creditors' Exhibits 3 and 4

14    received into evidence.)

15                  THE COURT:       Is that it in terms of exhibits

16    that you wish to introduce, Mr. Kayser?

17                  DR. KAYSER:       Yes.

18                  THE COURT:       Okay.    Now, I assume you're done

19    with your direct testimony?

20                  DR. KAYSER:       Correct.

21                  THE COURT:       All right.      Do you wish to cross-

22    examine Mr. Kayser, Mr. Stern or Mr. Kracht?

23                  MR. STERN:       Yes, Your Honor.

24                  THE COURT:       You may do so.

25                  MR. STERN:       Thank you.

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 1                  CROSS-EXAMINATION OF KENNETH KAYSER

 2    BY MR. STERN:

 3    Q       Putting up what is referred to as July 20th

 4    email, that's Exhibit A.            It's been admitted into

 5    evidence.      This is the email you're referring to, Mr.

 6    Kayser?

 7    A       Yes, and I need you to speak into the

 8    microphone.

 9    Q       Sure, I'm sorry.         Am I more audible now?

10    A       Yeah, I'm just hard of hearing and I should have

11    gotten a hearing aid before I came to this court.

12    Q       Now, this July 20th email is in a string of

13    emails, correct?

14    A        Is in a what?

15    Q        It's in a string of emails to and from you, Mr.

16    Earley, and Mr. Hager, between me and the three of you?

17    A        There wasn't much of -- you know,              I don't recall

18    whether we exchanged by email.               I thought we mostly

19    discussed these terms, and I did send them                      send this

20    letter to them prior to sending it to you, to make sure

21    they agreed with the terms.

22    Q        Now, in my email to the three of you on July

23    23rd, 2019, at 10:46 a.m., do you see in the second to

24    last paragraph, do you agree that I encouraged the

25    three of you to seek your own legal counsel?                    Is that

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 1    what it says right where I'm pointing to?

 2    A       Sure.

 3    Q       Okay.     Then later on --

 4    A       I would encourage anyone to seek their own legal

 5    counsel.

 6    Q       In that same email string, on an email from me

 7    to the three of you, on July 24th at 5:56 p.m., which

 8    is on Page 3 onto Page 4, I again                  I'm pointing to

 9    where it says,       "I encourage each of you to seek your

10    own legal advice."          Did I do that again in that email

11    string?

12    A       Absolutely.        I can read when it's on the screen

13    that big.

14    Q       Then again, on July 26th, early that day, the

15    day that we ultimately thought we reached an agreement,

16    I again suggested that you seek legal counsel; is that

17    correct?

18    A        Yes, I do.

19    Q       At any point did you authorize any legal counsel

20    to speak with me to negotiate a settlement?

21    A        Did I at any date what?

22    Q       Authorize any legal counsel to negotiate with me

23    to negotiate a settlement?

24    A        No, I did not.

25    Q        Now, earlier, if I understand your testimony

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 1    correctly, you said the terms of the July 20th, 2019

 2    email were required to be included in any settlement

 3    agreement that was reached with Tagnetics; is that

 4    correct?

 5    A       That's correct.

 6    Q       Can you show me where that was communicated to

 7    me at any point during the settlement negotiations?

 8    A       I cannot and I also cannot show you any email

 9    where they were discussed, and we were always

10    negotiating from that document, the original document.

11    Q       Can you explain where in the email string or

12    show me, I'm sorry, where in that email string that was

13    explained to me, that those terms of the July 20th

14    email were non-negotiable?

15    A        If you look back at the July 20th one, look at

16    the wording above there, the agreement -- the

17    settlement agreement must include.                We never rescinded

18    that declarative statement.

19    Q       So can you show me where it says that -- this is

20    also your final offer, it says in there too, correct?

21    Is that what it says?

22    A       The only thing Ron Earley was negotiating with

23    you was a payment schedule, because that's the only

24    thing you asked him to negotiate.

25    Q       Can you show me where I asked to negotiate only

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 1    payment terms?
 2    A        That's reflected by your letter, where you have

 3    several hundred words discussing the payment schedule

 4    and the dire straits, which Tagnetics is in, so they

 5    can't come up with paying their contracts, and there's

 6    virtually -- I can't read it.              Would you focus that

 7    document if you want me to tell you what it says?

 8    Q        Oh, sorry.

 9                  THE CLERK:       I'm not sure that it can focus

10    any more.

11                  MR. STERN:       Your Honor, if I may, to move

12    this along, could I refer to the exhibit binder, hand

13    that to the witness?

14                  THE COURT:       That's fine, yeah.         That's fine.

15                  MR. STERN:       May I approach the witness, Your

16    Honor?

17                  DR. KAYSER:       I've got it.

18                  THE COURT:       Yes, you may.

19                  DR. KAYSER:       Which exhibit are you asking me

20    to

21    BY MR. STERN:
22    Q        So now, referring to Exhibit A, and if you could

23    refer to Page 5 of that exhibit, in the second

24    paragraph, am I referring to any non-monetary terms,

25    such as a default judgment?

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 1    A       One again, you'll have to speak more clearly for

 2    me to understand.

 3    Q       In the second paragraph of that email on July

 4    23rd, on Page 5, am I referring to a non-monetary term,

 5    referred to as a default judgment?

 6    A       Do I have a comment on that?

 7    Q       Is there a non-monetary term referenced in

 8    there, referred to as a default judgment?

 9    A       I'll read it.        "We can also include a default

10    judgment provision if provision is intended to

11    demonstrate in part that Tagnetics is serious about a

12    resolution and is not trying to jerk you around as

13    incorrectly you suspect it is."

14    Q       Okay.     So

15    A       That hardly sounds like clear language to me.

16    Q       Okay.

17    A       And you'll forget -- don't forget,               I've been on

18    the Board of this company for years, and they have

19    failed to live up to the terms of the agreement, of our

20    employment agreement.

21                  MR. STERN:       Object, Your Honor, to the non-

22    responsive and strike his testimony.

23                  THE COURT:       Stop.    If there's an objection,

24    you need to stop.

25                  DR. KAYSER:       I'm sorry.

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 1                  THE COURT:       I think Mr. Stern is objecting,

 2    because that's not responsive to his question.                    So Mr.

 3    Stern, if you want to ask your question again.

 4                  MR. STERN:       Sure.

 5    BY MR. STERN:

 6    Q       My question was whether or not there's any

 7    reference in that paragraph to non-monetary term

 8    referred to as a default judgment; is that yes or no?

 9    A       Not that I'm aware of.

10    Q       Are you familiar with the term default judgment?

11    A        I am not.      I'm not an attorney.

12    Q        Is there a phrase in Paragraph 2 on that July

13    23rd, 2019 email that says "default judgment?"

14    A       Am I familiar with what that term -- you'll have

15    to ask the question in a clearer way for me.

16    Q        Is there a phrase in Paragraph 2 on that email

17    referring to a default judgment?

18    A        It says,    "You can also include a default

19    judgment."

20    Q       Now, in terms of non-monetary terms, the

21    ultimate agreement that was reflected in an email or a

22    purported agreement, since you're contesting it, on

23    July 26, 2019, there are non-monetary terms in that

24    email, aren't there?           That's on Page 1 of the exhibit.

25    A       You'll have to restate the question again.

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 1    Which paragraph do you want me to look at?

 2    Q       I'm looking at the email from me to you, Mr.

 3    Earley and Mr. Hager, on July 26, 2019, at 3:27 p.m.,

 4    which is on the first page of Exhibit A.                  Do you see

 5    that?

 6    A       At 3:17 p.m.?

 7    Q       3:27 p.m.

 8    A       Which page is that?

 9    Q        Page 1.     Actually, I'll come back to that in a

10    moment.      Why don't we turn to the email from Mr. Earley

11    to me on July 24, 2019, at 7:43 p.m.                 It's on Page 3 of

12    Exhibit A.       See Mr. Earley's email,          "Stephen, no

13    chance, look forward to meeting you on Monday."                     Do you

14    see that?

15    A       Yes.

16    Q       And then my response to that, the email above

17    that, where it says,         "It seems silly and, quite frankly

18    odd, to simply cut off negotiations."                 Is my

19    characterization that Mr. Earley had cut off

20    negotiations an accurate description of where we were

21    at that point in time in our discussions?

22    A       You made an insulting offer to settle a $500,000

23    claim for $5,000, didn't seem appropriate to us.

24    Q        Is it an accurate description of the status of

25    the negotiations at that point in time that settlement

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 1    negotiations had been cut off?

 2    A        Yes.

 3    Q        Thank you.      So then negotiations picked up again

 4    in earnest on the 26th, and ultimately there's an email

 5    from me to you, Mr. Earley, Mr. Hager, on July 26th at

 6    3:27 p.m., that includes monetary and non-monetary

 7    terms, doesn't it?

 8    A        It uses the word that's meant to be deceptive

 9    and misleading, of carve-out.

10    Q        We'll get to that in a moment.

11    A        We were under the impression --

12    Q        I asked -- my question was, Mr. Kayser --

13    A        Okay.    My answer is --

14    Q            does that include monetary and non-monetary

15    terms?

16    A        The only non-monetary thing I see in there is a

17    full mutual release, no carve-outs.                And I thought that

18    was a very poor legal description of what we were

19    trying to agree on, and I believe it to this day.                      And

20    if you would prefer I have a lawyer say that's a lousy

21    way to describe something you're attempting to clarify,

22    great.

23    Q        Are you familiar with the concept of what a full

24    mutual release is?

25    A        The terms we had agreed to --

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 1    Q       Are you familiar with the concept of what a full

 2    mutual release is?

 3    A       Did we agree to a full mutual release?                 We

 4    agreed to a release as defined by the terms of July

 5    20th.

 6    Q       Are you familiar with the term full mutual

 7    release means?

 8    A       It doesn't release you from fraud.                It doesn't

 9    release you from many things.              And, no,    I don't know

10    exactly what a full mutual release is, and we do not

11    agree with that language.

12    Q       So then when Mr. Earley responded to that email

13    on July 26 at 3:56 p.m., it says,              "Mr. Earley is

14    discussing this--" I'm sorry, Mr. Hager.                    "Mr. Earley

15    is discussing this with the Court at the moment.                     I'm

16    responding for Kayser, Earley and Hager, saying we

17    agree to the terms put forth as documented above."                      Was

18    Mr. Hager not speaking for you at that point in time?

19    A       He did and, frankly,         I was a little critical of

20    his response, but

21    Q       Did you reply to that email?

22    A       No,   I did not.

23    Q       Advising me that he was not authorized to speak

24    for you?
25    A       Mr. Stern, I never saw this email until 5:30

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 1    that evening.

 2    Q        Did you

 3    A        When I saw it.

 4    Q             respond to me at 5:30 that evening saying

 5    that Mr. Hager was not authorized to speak on your

 6    behalf in response to the terms that I put out?

 7    A        I   discussed this with Mr. Hager and I             discussed

 8    it with Mr. Earley.          And Mr. Hager assured me that his

 9    understanding was he had not agreed to taking the

10    provisions that outlined of the July 20th out.                    And I -

11    - we sat down and we had a discussion.                 And, frankly,       I

12    viewed it as quite misleading and very poor language.

13    I expect the lawyers in this situation to clarify

14    things, not confuse them, and not attempt -- because we

15    weren't lawyers --

16                   MR. STERN:      Your Honor, this is again, not

17    responsive.        I asked if this was communicated to me.

18                   DR. KAYSER:      Excuse me, Your Honor.

19                   THE COURT:      Sustained.      Ask your question

20    again.

21    BY MR. STERN:

22    Q        Did you communicate to me at any point on July

23    26th that Mr. Hager was not authorized to speak on your

24    behalf with respect to the terms of the July 26th email

25    at 3:27 p.m.?

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 1    A        I did not.      Mr. Hager was --

 2    Q        Did Mr. Hager at any point communicate to me on

 3    July 26th, 2019, after my 3:27 p.m. email, that that

 4    email did not accurately reflect the terms of the

 5    agreement?

 6    A        Repeat your question.

 7    Q        Did Mr. Hager communicate to me --

 8    A        I wouldn't know.        You'll have to ask Mr. Hager.

 9    Q        In the emails that you saw, did Mr. Hager

10    communicate to me that the email that I wrote at 3:27

11    p.m. did not accurately reflect the terms of our

12    agreement?

13    A        There was no email after -- until Tuesday, when

14    we hadn't heard from you.

15    Q        All right.      Now, going back to your

16    understanding of what the term "full mutual releases"

17    means.     Do you understand, based on the terms of the

18    agreement you thought we had reached --

19    A        Full mutual releases -- if you're asking me a

20    question --

21    Q        I haven't finished asking the question yet.                   Did

22    you understand the term full "mutual releases, no

23    carve-outs," to mean that you could sue a Tagnetics

24    parent company?

25    A        We assumed -- Tagnetics has no parent company.

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 1    Q       Did you -- you, yourself, mentioned earlier,

 2    that you had resigned from the Board.                 You don't know

 3    all the current financial status of Tagnetics,

 4    according to your own statements.               So did you

 5    understand that you had the right to sue a parent

 6    company of Tagnetics, based on the agreement,                   "full

 7    mutual releases, no carve-outs?"

 8    A        If you'll repeat your question again, please.

 9    Q        Did you have the understanding when you saw the

10    email "full mutual releases, no carve-outs," that you

11    could sue a parent company of Tagnetics?

12    A        I never considered the topic, because as of the

13    date when we filed the petition, there was no parent

14    company.

15    Q        Did you have the understanding --

16    A        And you have not provided any evidence to the

17    contrary.

18    Q        Did you have the understanding that you could

19    sue a subsidiary of Tagnetics based on the provision

20     "full mutual releases, no carve-outs?"

21    A        I would assume that a mutual release would

22    include whatever was negotiated during -- obviously

23    when you're in the middle of a negotiation process,

24    you're not negotiating those minute terms.                   Normally,

25    you --

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 1    Q       Did you have an understanding

 2    A            negotiate the key terms.

 3    Q            of what the full mutual releases, no carve-

 4    outs means to include a release or the opportunity to

 5    sue a subsidiary of Tagnetics?

 6    A        I wouldn't         wouldn't have an opinion without

 7    consulting an attorney.

 8    Q       Did you have the understanding that the term

 9    "full mutual releases, no carve-outs" allowed you the

10    opportunity to sue an affiliate of Tagnetics?

11    A       The same answer applies.

12    Q        Did you have the understanding that the term

13     "full mutual releases with no carve-outs" gave you the

14    opportunity to sue an officer of Tagnetics?

15    A        You continue to ask me questions, which I

16    wouldn't answer without consulting an attorney.                     We

17    were not negotiating legal terms.                We are negotiating

18    the overall structure of a settlement.

19    Q        Mr. Kayser --

20    A        It's Dr. Kayser, if you don't mind.

21    Q        Did Mr. Hager at 3:58 p.m. on July 26th copy my

22    email and include you on the email, that included the

23    phrase "full mutual releases, no carve-outs?"

24    A        He did copy me on that email and his explanation

25     to me, he was just -- you'll have to ask him.                   He had

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 1    an explanation.         I expected a document to be

 2    transmitted to us, while               I wasn't involved in this

 3    negotiation with you.           I expected a document to be

 4    transmitted to us, which was clear and concise.

 5    Q       When you say a document that was clear and

 6    concise, are you referring to the settlement agreement

 7    that's Exhibit B?

 8    A       You're not speaking clearly enough for me to

 9    comprehend.

10    Q       Are you -- when you're saying a clear and

11    concise document, are you referring to Exhibit B?

12    A       Exhibit B?       You did promise us a rough draft of

13    this agreement by Monday.            Am I expecting that?           No, I

14    was expecting

15                  MR. STERN:       Objection, Your Honor, as non-

16    responsive.       I asked if the document he was referring

17    to was a clear and concise agreement, if that's Exhibit

18    B.    Nothing about timing is at issue here.

19                  DR. KAYSER:       Are you speaking to me or is it

20    the Judge?       I don't understand.

21                  MR. STERN:       I made an objection.

22                  THE COURT:       I don't ask questions unless I

23    specifically ask a question.

24                  DR. KAYSER:       He's looking at you.

25                  THE COURT:       Mr. Stern is asking you a

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 1    question and, Mr. Stern, you can correct me if I

 2    paraphrased you incorrectly.              I believe Mr. Stern is

 3    trying to ask you is do you believe that Exhibit Bis a

 4    clear and concise document.             Is that correct, Mr.

 5    Stern?

 6                  MR. STERN:      Thank you, Your Honor.

 7                  DR. KAYSER:       Is that a clear and concise

 8    document?      Yes.

 9    BY MR. STERN:

10    Q        Thank you.      Now, did you have an understanding

11    at the time on July 26, 2019, that Compass Marketing,

12    Inc. owned at least some shares of Tagnetics, Inc.?

13    A        I don't have -- don't have access anymore, and I

14    didn't look --

15    Q        That's not my question, sir.             Did you have an

16    understanding as of July 26th

17    A        That Compass Marketing -- very few, at most,

18    yes.

19    Q        You didn't know how many shares, but you knew

20    that Compass Marketing owned some shares of Tagnetics,

21    Inc., correct?

22    A        Did I know that?        No, I did not.

23    Q        So you assumed it?

24    A        It was never discussed in a Board meeting.

25    Q        I'll ask my question again, sir.               As of July 26,

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 1    2019, was it your understanding that Compass Marketing,

 2    Inc. owned at least some shares of Tagnetics, Inc.?

 3    A       I answered that.

 4    Q       Yes or no?

 5    A       No.     It was not my understanding that Compass

 6    Marketing had shares of stock.

 7    Q       Okay.     Can you turn to Exhibit H?             The last

 8    page.     Is that your signature under Kayser Ventures,

 9    Inc., or I'm sorry, Kayser Ventures, LTD?

10    A       Yes, of course.

11    Q       And that agreement you signed, that's the

12    earlier settlement agreement in this case involving the

13    entity that you owned, which is Kayser Ventures, LTD,

14    correct?

15    A       That settlement --

16    Q        Is that correct?

17    A        I can't be sure unless I can understand you

18    clearly, so please try to enunciate.

19    Q        Is this the settlement agreement that you

20    signed, while it's redacted, is that your signature to

21    show the settlement agreement you signed on behalf of

22    Kayser Ventures, LTD, with Tagnetics, Inc.?

23    A        I don't understand the nuance of what you're

24    asking me.       Yes, I signed the settlement agreement.

25    Q        Is that your signature on the last page of

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 1    Exhibit H?

 2    A       Yes.      I already testified to that.

 3    Q       Okay.     Now, in that settlement agreement there

 4    is a release by Kayser Ventures, LTD, correct?                     It's on

 5    Section 5.

 6    A       I relied on the advice of my counsel, yes.

 7    Q       And at that time that release included a release

 8    of all Tagnetics' parent companies, corporate and

 9    operating affiliates, subsidiaries and related

10    entities, including specifically Compass Marketing,

11    Inc., correct?

12    A       Yes.      However

13    Q       Yes?

14    A       Can I respond?

15    Q       My question was does it include the release of

16    Compass Marketing, Inc., with that language that I just

17    read back?

18    A        Including, yes.        I see where it says,         "including

19    specifically Compass Marketing."

20    Q       And you signed that agreement?

21    A        I did.

22    Q       Thank you.       You didn't object to the settlement

23    that released Compass Marketing, Inc., as a corporate

24    or operating affiliate or subsidiary

25    A       My lawyer told me it was not a significant

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 1    issue.

 2    Q        Okay.

 3    A        And I had no -- Kayser Ventures had no dealings

 4    with Kayser Ventures and Kayser Ventures was making no

 5    claims against --

 6    Q        Did you have the understanding that you could

 7    sue -- on July 26, that you wanted the opportunity to

 8    sue one of Tagnetics' officers or directors, if you

 9    needed to?       That's a bad question.           I'll withdraw it.

10    Let me rephrase.

11             On July 26, 2019, when you saw the phrase "full

12    mutual releases, no carve-outs," was it your

13    understanding that you could sue an officer or director

14    of Tagnetics, Inc.?

15    A        On Kayser Ventures' behalf?

16    Q        No, on July 26, going back to the agreement in

17    your individual capacity?

18    A        Which agreement?        Which exhibit?

19    Q        Exhibit A.

20    A        Now repeat your question.

21    Q        Was it your understanding when you saw the

22    phrase "full mutual releases, no carve-outs," that you

23    had the right to still sue an officer or director of

24    Tagnetics, Inc.?

25    A        If we did a settlement, you're talking about?

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 1    Q       Yes.

 2    A       No.

 3    Q       Okay.     Now, earlier you testified that you were

 4    the founder of the predecessor company of Tagnetics.

 5    Is that DET?

 6    A       It's what the name became.             We had some other

 7    name prior to that, before Hobart bought it, but it was

 8    DET while it was at Hobart.

 9    Q       And then you testified that it was reorganized,

10    meaning it was put into bankruptcy?

11    A       What was put into bankruptcy?

12    Q       Did you put the predecessor company into

13    bankruptcy?       You said the phrase "reorganized" during

14    your testimony earlier.

15    A        It was not necessary.

16    Q       Did you put it into bankruptcy?

17    A       No.

18    Q       What did you mean when you used the phrase

19    "reorganized" during your testimony?

20    A        It was -- you'll have to ask Ron Earley to

21    testify about that.          I don't really know the

22    particulars of that, and I don't know exactly how it

23    was done.

24    Q        Prior to this proceeding today, did you

25    communicate with shareholders of Tagnetics, Inc. about

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 1    this proceeding?

 2    A       Have I communicated with shareholders?

 3    Q       Yes.

 4    A       Not outside of people involved in the company,

 5    or in this hearing, I mean.

 6    Q       Outside of Mr. Hager and Mr. Earley, did you

 7    communicate with any other shareholders of Tagnetics?

 8    A       Ms. Goldsmith may be a shareholder.                 I don't

 9    know.
10    Q       Okay.     Did you communicate with Dan White at any

11    point about this proceeding?

12    A       No.

13    Q       No, you did not?

14    A       Since when?

15    Q       Prior to the filing of the petition for

16    bankruptcy?

17    A       Oh, I did, and -- because Dan White sent me an

18    email out of the blue.           I didn't even have his email

19    address until he sent me an email.

20    Q       And that email from Dan White out of the blue

21    was in early 2019.          January sound correct?

22    A        I don't have it in front of me, but it could

23    have been in January certainly.

24    Q        If I were to show you something to refresh your

25    recollection, would that help, such as the email that

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 1    you produced in discovery in this case?

 2                  MR. STERN:      Your Honor, may I approach?

 3                  THE COURT:      Yes, you may.

 4    BY MR. STERN:

 5    Q       Does this email that I showed you refresh

 6    A       This was in February, not January.

 7    Q        I'm looking at an email dated Saturday, January

 8    26, 2019, at 11:33 p.m., from Daniel White.                    It says,

 9    "Ken, I hope this email finds you doing well, as well

10    as you can."

11    A       Okay.

12    Q        Is that the email you're referring to that came

13    out of the blue?

14    A        I don't see any email here on January 19th.

15    Q        I said January 26, 2019.

16    A        January 26th?       Yes.

17    Q        Is that the email you're referring to?

18    A        Excuse me a second.          Would you hand me my

19    reading glasses?         Oh, I've got them in my pocket,

20    excuse me.       Yeah.

21    Q        Is that correct?

22    A        It's an email, says it's on January 19th.                  Or

23    no, 26th.

24    Q        Is this the email you're referring to that you

25    got out of the blue from Mr. Daniel White?

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 1    A       Repeat your question.

 2    Q       Is this the email you were referring to that you

 3    got out of the blue from Mr. Daniel White?

 4    A       Yes, there's an email from Daniel White, January

 5    26.

 6    Q       And then the email above that on February 19th,

 7    does he encourage you to communicate with him in his

 8    personal email account at danieljwhite@msn.com?

 9    A        I'm sorry, Mr. Stern, I'm having trouble

10    understanding you.          I don't mean to be

11    Q       At the top of the email --

12    A        Yes.

13    Q            there's an email from Mr. White to you, dated

14    February 19th, 2019, at 3:03 p.m.                Do you see that in

15    the upper right-hand corner?

16    A        February 19th, yes.

17    Q        And the first line of the email, at the very far

18    right, Mr. White says to you, Dr. Kayser, in his

19    opening sentence, and at the end of that first line

20    says,    "Please use danieljwhite@msn.com; is that

21    correct?

22    A        Yes.

23    Q        Did you communicate with Mr. White on more than

24    one occasion after that email in January?

25    A        I wouldn't be certain without looking at my

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 1    records.      We made a couple of attempts to get together.

 2    Dan White had been a long time acquaintance of mine,

 3    but we never did get together.

 4    Q       Did Mr. Daniel White encourage you to file this

 5    bankruptcy proceeding against Tagnetics?

 6    A       My only recollection -- did he encourage me to

 7    do this?      No, absolutely not.

 8    Q       Did he say that it was something that he thought

 9    needed to be done?

10    A       He did not.       He sent me one email saying you did

11    the right thing, but I don't remember the exact date on

12    which that was.

13                  MR. STERN:       Your Honor, may I approach?

14                  THE COURT:       Yes, you may.

15    BY MR. STERN:

16    Q        Do you recognize this email string that I just

17    handed to you?        The top one is from you to Mr. White,

18    on March 22nd, 2019, at 5:18 p.m.                And it says, "Hi,

19    Dan, let me know when.            I would like to get together.

20    Ken."     Underneath that there's an email from Mr. White

21    at his msn.com email account, to you.                  "Good afternoon,

22    Dr. Kayser."        It's dated March 22nd, 2019, at 1:25 p.m.

23    It says,     "I noticed your bankruptcy filing online and

24    did share it with my brother, Mike."                 FWIW, I think.

25    It says,     "It is certainly understandable from my

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 1    perspective and a necessary action."

 2    A       Yes.

 3    Q       Did you discuss the bankruptcy filing with

 4    Daniel White prior to you filing?

 5    A       No.

 6    Q       Why did -- do you know why he knew to look it up

 7    to see if it was filed?

 8    A       He's an attorney and he is breaking off with his

 9    brother and there's all sorts of legal action being

10    taken, and he probably follows all of it.                   I don't

11    know.     You'll have to ask him.

12    Q       Okay.

13                   MR. STERN:      Your Honor, if I may have one

14    second?

15                   THE COURT:      Yes, you may.

16                   MR. STERN:      Your Honor, I have no further

17    questions.

18                   THE COURT:      Thank you, Mr. Stern.

19                   DR. KAYSER:      Am I done, Your Honor?

20                   THE COURT:      Do you wish to present any

21    redirect examination of yourself, based upon Mr.

22    Stern's cross-examination?

23                   DR. KAYSER:      Not particularly, no.

24                   THE COURT:      All right.      Then you may be

25    excused from the witness box.

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 1                  THE CLERK:      Dr. Kayser, you can hang on to

 2    those when you're over here, if it helps you hear.

 3                  DR. KAYSER:       All right, thank you.

 4                  THE COURT:      Mr. Kayser, do you wish to call

 5    any other witnesses in your case?

 6                  DR. KAYSER:       One moment, Your Honor.            Yeah,

 7    I'd like to call Ron Earley, please, Your Honor.

 8                  THE COURT:       You may do so.

 9                  THE CLERK:       I just want to remind you, you're

10    still under oath, sir.

11                  MR. EARLEY:       I acknowledge that.

12                  DIRECT EXAMINATION OF RONALD EARLEY

13    BY DR. KAYSER:

14    Q       Mr. Earley

15    A        Can you ask me questions?            I'm not sure you can

16    ask me questions.

17                  THE COURT:       Yeah, he can ask you questions in

18    his case.

19                  MR. EARLEY:       Okay.

20    BY DR. KAYSER:

21    Q        Were you a participant in the drafting of the

22    original agreement sent by me on July 20th?

23    A        Yes, I was.

24    Q        Were you approached by Mr. Stern with an offer

25    of settlement, or negotiating settlement?                   After July

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 1    20th -- let me restate the question.

 2    A       All right.

 3    Q       After July 20th were you negotiating terms for

 4    restructuring of the timetable for the payments?

 5    A       Yes, I was.

 6    Q       Did you discuss what the boundaries of what you

 7    were negotiating with both Jon Hager and I?

 8    A       Yes, I did.

 9    Q       Did those boundaries include any renegotiation

10    of the terms described in the July 20th letter, other

11    than the financial part of it?

12    A       No.    We were addressing what seemed to be the

13    concerns of Tagnetics, as they initially told us that

14    our       that your letter that you sent on the 20th was

15    out of bounds, and they could not even get close to the

16    cash for that.        Then they sort of -- we were encouraged

17    to come back with a counteroffer, and obviously we were

18    focused on the cash, because that's the area that they

19    were also most focused on.

20    Q        Did you at any time believe that the terms and

21    conditions from the July 20th letter, other than the

22    financial, were ever being discussed?

23    A        No.

24                   DR. KAYSER:      Your Honor, I have no other

25    questions.

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 1                  THE COURT:      Thank you, Mr. Kayser.            Any

 2    cross-examination for Mr. Earley?

 3                  MR. STERN:       Your Honor, if I may,         just to

 4    streamline this, maybe just wait until -- I assume Mr.

 5    Earley is going to testify himself.                If there's going

 6    to be more testimony later on, rather than do his

 7    piecemeal, do it all at once.

 8                  THE COURT:       That's fine.       Mr. Earley, do you

 9    intend on testifying in your own case?

10                  MR. EARLEY:       I absolutely do.

11                  THE COURT:       All right.

12                  MR. STERN:       Then I'll just reserve until

13    then.
14                  THE COURT:       He will reserve all his questions

15    for you at that time.

16                  MR. EARLEY:       Perfect.

17                  THE COURT:       The Court accepts that and

18    agrees.      Mr. Kayser, do you wish to call any other

19    witnesses in your case?

20                  DR. KAYSER:       I don't think that's necessary,

21    Your Honor.

22                  THE COURT:       Okay.    Thank you.       Any other

23    evidence then, Mr. Kayser, that you wish to introduce

24    in your case?

25                  DR. KAYSER:       No.

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 1                  THE COURT:      We've admitted Exhibits 3 and 4,

 2    I believe it was.

 3                  DR. KAYSER:       Yes.

 4                  THE COURT:      Okay.     All right.       Then Mr.

 5    Kayser, you rest your case?

 6                  DR. KAYSER:       I do.

 7                  THE COURT:      Okay, thank you.         Mr. Earley or

 8    Mr. Hager, one of you want to proceed with your case?

 9                  MR. EARLEY:       Yes.

10                   DIRECT TESTIMONY OF RONALD EARLEY

11                  MR. EARLEY:       So now that you've met Mr.

12    Kayser, you can understand that he has a low

13    frustration rate.         So once we got through the letter of

14    the 20th, and this is all in Exhibit A, we got through

15    the letter from Mr. Kayser to Mr. Stern on the 20th,

16    and then Mr. Stern's response to Mr. Kayser on the

17    23rd.     Mr. Hager and Mr. Kayser and I had several phone

18    conversations and discussions, and we decided that I

19    would make an attempt to put together a payment

20    structure that Tagnetics might be able to agree to.

21                  So on July 23rd at 1:33 I sent Mr. Stern an

22    email outlining a payment structure that would spread

23    out the payments.         It would not change the final

24    amount, but would spread out the payments over a two-

25    year period and, in fact, put some of the total payment

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 1    into an undetermined category, to be paid if and when

 2    there was a liquidity event.

 3                  So we felt like this was a significant move

 4    towards their trying to reach a settlement, because we

 5    had gone from demanding, as you know, $186,000 for me,

 6    151,000 for Mr. Kayser, 148,000 for Mr. Hager.                    We went

 7    to a settlement agreement would pay each of us $50,000

 8    in the initial payment.           There would be two sub-

 9    payments of $25,000, spread across six months, and then

10    there would be a -- the remainder would be paid out, if

11    and when the company had a liquidity event.

12                  Mr. Stern -- and at this point I'm focused on

13    the cash, because he has told us, both in his emails

14    and in phone conversations we've had, that the company

15    just can't afford this.            He was sort of making our case

16    for us, as we look back to the bankruptcy filing.

17                  And so we were trying to figure out a way,

18    because Jon and I actually preferred the settlement.

19    Mr. Kayser, on the other hand, we had to drag him to

20    that situation.         Mr. Stern came back to me in the

21    afternoon, later in the afternoon, and he thanked me

22    for putting together a structure that was closer in

23    line with what the company could pay, but basically

24    said there's no way we can make the initial payments.

25    And he suggested in his email of July 24th at 5:57 in

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 1    the -- it says, and I'm reading,              "Initial payment of

 2    $5,000, not $50,000, to each of you, within five

 3    calendar days of you dismissing your claim."                   And, of

 4    course, when I saw that and after I had a moment -- not

 5    very -- a while to discuss that with Jon and Ken, you

 6    know, we said, you know, this is crazy.                  They just paid

 7    $90,000 to settle the claim with the other defendants,

 8    and here they're asking us to take $5,000, and there's

 9    no guarantee that we're going to get any additional

10    money.

11                  And so that's what prompted me to write back

12    and say no chance.          Now, no chance to me means no

13    chance we'll accept your offer, or your counteroffer.

14    No chance doesn't mean that we're terminating the

15    negotiations.        It's just that you're so far down that

16    we can't really -- we're not even going to consider

17    that.

18                  And then he came back to me, and as the week

19    goes along seems like he's more willing to talk to us.

20    He says he thinks it's silly that we've cut off

21    negotiations.        Well, we haven't cut off negotiations.

22    We were just responding to his weak offer, and we were

23    saying look, this doesn't seem like you're really

24    serious about settling this with us.

25                  So after we received that email, I went back

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 1    and had conversations with Mr. Kayser and Mr. Hager,

 2    and we talked about what would be best for us, and what

 3    we would be willing to do, and we proposed a second

 4    payment schedule.         And that payment schedule was,

 5    instead of $50,000 up front, we said well, you paid

 6    KBL, you paid Bob Strain, and you paid S-Tek a total of

 7    $90,000.      Seems like it's reasonable that if you'll pay

 8    us $90,000, as the initial payment, 30,000 apiece, then

 9    we're willing to reduce our payments or spread out our

10    payments, and I proposed that to Mr. Stern.

11                  We had a phone conversation after I proposed

12    that, and he said I'm willing to take this back to

13    management of Tagnetics, but is there any way you can

14    give me something?          I mean, that was pretty much we're

15    negotiating.       He said give me something.             So I said,

16    look, I think, you know, we would be willing to push

17    out the second and third payments an extra six months.

18                  So instead of paying the second payment in

19    six months and the third payment in 12 months, I'll go

20    back and sell the idea that we'll give you one year to

21    make the second payment, and we'll give you -- and the

22    third payment will be an additional six months, to 18

23    months, and oh, by the way, we still will allow the

24    balances of what we would like paid to be put in a

25    bucket and we'll only get that money if the company is

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 1    liquidated or has a liquidity event.

 2                  And at that point it seemed like we were

 3    really close.        And, of course, as you know, it was

 4    Friday and the closer we got to Friday afternoon and

 5    the Court closing, and facing the fact that we were all

 6    going to have to be in here on Monday morning, Mr.

 7    Stern        we all three had a conference call.                We talked

 8    about this -- we talked about -- why does that do that

 9    to me?     Come on, Ron.

10                  The timing was right, the money was right,

11    and we talked about notifying the Court, but also --

12                  MR. HAGER:       Mutual release.

13                  MR. EARLEY:       Mutual release, right, and there

14    was discussion about that.             And so -- oh, and Mr. Stern

15    -- we asked for a full mutual release.                  Mr. Stern

16    advised us that he didn't think his client would do

17    that and, in fact, he said to us very clearly, I would

18    advise against that.           I wouldn't even advise them to

19    give you a clear full release.              And we said well, you

20    know, we're right down to the wire here.                  We want that

21    release, and let us know what they say.

22                  So he took it back to them.             He called -- he

23    called -- must have been me back, and let me know that

24    they would accept that, and then I got ahold of Jon.

25    At the same time I was on my way here to the court to

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 1    file what we believed was going to be a settlement

 2    agreement.       And so he couldn't -- I wasn't in front of

 3    my computer.       There were some things going on.                I

 4    wasn't able to stay completely in touch with him.                      My

 5    wife won't let me drive and text at the same time.                      I

 6    don't know why she won't let me do that.                  But so I was

 7    restricted in what I was able to do, but I was here.

 8    Jon was on his computer.            Ken was out -- out of pocket.

 9    And we notified the Court we had a settlement.

10                  At that moment, I believed that what we had

11    reached was an agreement that included the preliminary

12    information we put in, the July 20th, as well as the

13    cash settlement, which we had worked so hard to

14    negotiate, and I expected that we would be able to wrap

15    that up within a week or two.              And I felt like that --

16    that we had -- we had all agreed that we wouldn't -- we

17    wouldn't allow the trial to be canceled, unless we all

18    three felt like we had a settlement we could live with.

19    And we all agreed we had a settlement we could live

20    with, and we were disappointed when we got the

21    settlement agreement, because to us it seemed like it

22    was -- there were -- that we lived in two worlds.

23                  So that's all I have.

24                  THE COURT:       Okay.    Are there any exhibits,

25    Mr. Earley, which you wish to introduce, other than

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 1    what's already been introduced and admitted?

 2                  MR. EARLEY:       No, sir.      Everything I talked

 3    about has been admitted.

 4                  THE COURT:      Okay, thank you.         Mr. Stern, it

 5    appears you may want to cross-examine Mr. Earley?

 6                  MR. STERN:      Yes, a few questions, Your Honor.

 7                  CROSS-EXAMINATION OF RONALD EARLEY

 8    BY MR. STERN:

 9    Q       Mr. Earley -

10                  MR. STERN:       By the way, before I forget, Mr.

11    Kayser, where is the binder that I handed to you?                      Is

12    that still up on the witness stand?

13                  DR. KAYSER:       Where did I find what?

14    BY MR. STERN:

15    Q        Mr. Earley, do you have the exhibits in front of

16    you?

17    A        No, I don't.

18    Q        How about I just hand you this?

19    A        That would be perfect, yeah.

20                  THE COURT:       You may do so.

21                  MR. EARLEY:       Absolutely, that would be

22    wonderful.

23    BY MR. STERN:

24    Q        All right.      Mr. Earley, can you turn to Exhibit

25    A on Page 3?        You're describing the email at one point

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 1    during your testimony on -- you were describing the

 2    email on July 24th at one point during your testimony,

 3    where you said,       "No chance,     11
                                                 and - -

 4    A       Yes, sir.

 5    Q       And if I remember, if I describe your testimony

 6    correctly, you said, in your mind, you were not cutting

 7    off negotiations at that point.                That's an inaccurate -

 8    - so my email above, where I said,                   "to simply cut off

 9    negotiations," you're saying is an inaccurate response?

10    I misinterpreted your email; is that correct?

11    A       Yes.

12    Q       All right.       But when you said "No chance," the

13    very next line in your email, July 24th, said,                    "Look

14    forward to meeting you on Monday."

15    A        Yes.

16    Q        Meaning see you in court?

17    A        Yes, because I didn't believe there was enough

18    time for us to get to a settlement.

19    Q        So you thought settlement negotiations were done

20    at that point in time, correct?

21    A        No, not particularly cut off, just didn't think

22    the timing was right.

23    Q        So you thought there was no way we could get a

24    deal done --

25    A        Right.

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 1    Q        -- before the trial?

 2    A        I didn't think so.

 3    Q        Okay.

 4    A        But that doesn't mean that we weren't willing to

 5    try and we weren't trying to keep the ball moving

 6    forward.

 7    Q        Did you offer a counter proposal in your email

 8    of July 24th to me, where you said,               "No chance, see you

 9    on Monday?"

10    A        Absolutely.

11    Q        Where is the counteroffer on your July 24th

12    email?

13    A        No, on the July 24th email, I offered no counter

14    proposal.

15    Q        Okay.

16    A        But we were -- but we responded to your 25th

17    email quickly with a counter proposal, focused fully on

18    how much cash Tagnetics could afford to hand us.

19    Q        You're referring to your email to me on July

20    25th, 2019 at 1:25 p.m.?

21    A        Absolutely.       There's nothing here that indicates

22     that something is brand new.             This is a continuation of

23    what we were doing.

24    Q        In your email on July 25th, 2019 at 1:25 p.m. --

25    A        Mm-hmm.

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 1    Q        -- does your email -- does that email refer to

 2    the email of July 20th, 2019, that Mr. Kayser had sent?

 3    A       No,     sir.   No.

 4    Q       Okay.      Did you -- does that email of July 25th,

 5    2019, at 1:25 p.m., from you to me, does that reference

 6    any of the prior terms that were discussed in Mr.

 7    Kayser's July 20th email?

 8    A       No,     sir.

 9    Q       Does it reference any non-monetary terms in that

10    email at that point in time?

11    A       No, sir, and the reason is is because that was

12    our focus.

13    Q       Okay.

14    A        I was given

15    Q        I was just asking whether or not you mentioned

16    that.     Now, earlier you testified that you and I were

17    discussing the concept of full mutual releases,

18    correct?

19    A        Yes.

20    Q       And you had said that it was something important

21    to you, that you asked for the full mutual releases,

22    correct?

23    A        So we -- so surrounding our employment

24    agreements, which this whole case is about, we were

25    we were -- it was important to us that there be a

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 1    release from our -- from anything inside that contract

 2    that bound us.

 3    Q       If I remember correctly, during your testimony

 4    you had said you had brought up the concept during our

 5    discussions on July 26th about full mutual releases.

 6    A       Well, I had brought up the concept of a release.

 7    I'm not sure full mutual releases is what I did, but I

 8    may have said that.

 9    Q       That's --

10    A        But I'm not sure.         So if I did, it might have

11    been the first or second time I've ever used that term

12    in my life, so

13    Q       Okay.

14    A        -- for me to have told you, we're really

15    concerned about full mutual release would have been

16    completely out of my engineering, what I do for a

17    living.

18    Q        But that is something that we discussed?

19    A        We did discuss the release, there's no question.

20    Q        And you agree that mutual releases are non-

21    monetary terms, correct?

22    A        Mutual release is a non-monetary term.

23    Q        And during that discussion that you and I had on

24    the phone, where we were discussing the full mutual

25    releases, did you bring up any of the other non-

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 1    monetary terms that Mr. Kayser mentioned in his July

 2    20th email?

 3    A        No, but there's a good reason.

 4    Q        Yes or no, did you bring them up?

 5    A        No, I didn't.

 6    Q        Did you -- during those conversations did you

 7    bring up any other payments than what we were

 8    discussing in what ultimately became that chart that

 9    you included in your July 25th email?                 Did we discuss

10    any other monetary terms, other than what's reflected

11    on that chart?

12    A        The answer is no.

13    Q        Okay.

14    A        It was the only hurdle that we were working on.

15    Q        Then on July 26th, 2019, at 3:27 p.m., my email

16    to you -- Page 1 of Exhibit A, my email to you, Mr.

17    Kayser and Mr. Hager, set forth the key terms, and do

18    you agree that this set forth the key terms that we

19    discussed?

20    A        I agree these set forth the key terms that we

21    had been negotiating and hadn't agreed to, to this

22    point.

23    Q        And then is it an accurate statement in the

24    email from Mr. Hager to me on Page 1 of Exhibit A, on

25    July 26, 2019, at what appears to be 3:56 p.m., where

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 1    Mr. Hager says,       "I am responding for Kayser, Earley and

 2    Hager, saying we agree to the terms put forth as

 3    documented above."          Really meaning below.           Is that an

 4    accurate statement, that he was authorized to speak for

 5    you at that point in time?

 6    A       Yes, he was.

 7                  MR. STERN:      No further questions, Your Honor.

 8                  THE COURT:      Thank you, Mr. Stern.

 9                  MR. STERN:       I'm sorry.      Can I approach, Your

10    Honor, to get the binder back?

11                  THE COURT:       Yes, you may.

12                  MR. STERN:       Thank you.

13                  THE COURT:       Mr. Earley, do you wish to

14    provide any redirect examination of yourself in

15    response to Mr. Stern's cross-examination?

16                  REDIRECT TESTIMONY OF RONALD EARLEY

17                  MR. EARLEY:       So my only -- my redirect is

18    that obviously if you follow this email train from the

19    20th through the 26th, when we agreed to it, it's clear

20    that there was a very limited focus to what we                       what

21    we and Tagnetics had not agreed to, and it was about

22    the cash.      Their initial push-back was we can't afford

23    that, we don't have the cash.              And the cash, cash,

24    cash.     So we became focused on getting the cash and

25    making the assumption on what that means, that the

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 1    terms that Mr. Kayser had put forth on the 20th,

 2    because they were not specifically rejected, were still

 3    in play.

 4                  That's all I have.

 5                  THE COURT:      Thank you, Mr. Earley.            Stay

 6    there.     Stay there.

 7                  MR. EARLEY:       I'm sorry.      Thank you.

 8                  THE COURT:      Stay there.       Any recross-

 9    examination?

10                  MR. STERN:      No, Your Honor.

11                  THE COURT:      Okay, now still stay there.

12                  MR. EARLEY:       I am.

13                  THE COURT:       Okay.    I've got the same two

14    questions for you that I asked Mr. Stern, when he was

15    on the stand.

16                  MR. EARLEY:       Yes, sir.

17                  THE COURT:       The first was -- and I think this

18    is particular relevant for you, since I think you're

19    the one who came up with this payment chart.                    What does

20    liquidity event mean in your payment chart?

21                  MR. EARLEY:       So liquidity to me means that if

22    there was a cash transaction or a transaction that

23    where ownership of the company, 50 percent or 50.1

24    percent of the company changed from its current

25    ownership to a new ownership, then that's a liquidity

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 1    event, and we would expect to be paid out of that

 2    transfer.      Because in general what happens during those

 3    transfers is someone is putting a bunch of money in to

 4    get the 51 percent that they need to control the

 5    company.      So that to us is a liquidity event, whether

 6    it happens through a stock swap, whether it happens by

 7    someone buying up a bunch of options.                 It really

 8    doesn't matter how it happens.              It's when there's a

 9    major cash event, where cash becomes available, to pay

10    previous creditors and along that line, and it

11    anticipates that that could still happen.

12                  THE COURT:       Okay.    My second area was the

13    stock.

14                  MR. EARLEY:       Mm-hmm.

15                  THE COURT:       What was your understanding as to

16    the effect of a settlement -- if a settlement was

17    reached on July 26th, as to any stock or equity

18    interest, which you held in the company?

19                  MR. EARLEY:       So my       my -- well, clearly I

20    don't believe that Tagnetics has the capability to wipe

21    out my stock ownership.            I paid cash for it.          I own it.

22    It's in my name.         I've got the certificates.             I possess

23    them.     It's hard for me to believe that they can wipe

24    that out on the settlement.              It's also probably not a

25    legal thing they could do.

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 1                  Number two, all the other equity I have in

 2    the business I realize is at stake, and so the only way

 3    that I would expect to get the other payments is if the

 4    company were successful, or if someone came in and

 5    decided to throw a lot of cash at it to try to make it

 6    move forward.        But from a stock standpoint, what we

 7    were asking for was nothing more than just acknowledge

 8    that we have it, acknowledge that it's there.

 9                  But I don't believe they can touch                   there's

10    -- yeah, I believe there are laws that would keep them

11    from stripping us from our stock, just because we

12    settled an employment contract.               They are completely

13    two different things.

14                  THE COURT:       Okay.    Thank you, Mr. Earley.

15    Any questions based upon the Court's questions, Mr.

16    Stern or Mr. Kracht?

17                  MR. STERN:       No, Your Honor.

18                  THE COURT:       Okay, thank you.         Mr. Kayser, any

19    questions for Mr. Earley, based upon my questions of

20    Mr. Earley?

21                  DR. KAYSER:       No, sir.

22                  THE COURT:       Mr. Hager?

23                  MR. HAGER:       No, sir.

24                  THE COURT:       Okay.    Thank you, Mr. Earley.

25    Now you may leave the witness box.

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 1                  MR. EARLEY:       Thank you, Your Honor.

 2                  THE COURT:      Appreciate your participation.

 3    Is there any other evidence, Mr. Earley, which you wish

 4    to present in your case?

 5                  MR. EARLEY:       I'm going to turn it over to Mr.

 6    Hager.

 7                  THE COURT:       Okay.    Thank you, Mr. Earley.            I

 8    guess the floor is yours, Mr. Hager.

 9                  MR. HAGER:       Thank you, Your Honor.           I'll do

10    my best to keep it brief.

11                  THE CLERK:       I just want to remind you, as

12    well, you're still under oath.

13                  MR. HAGER:       Yes, understood.

14                  DIRECT TESTIMONY OF JONATHAN HAGER

15                  MR. HAGER:       I guess without regurgitating the

16    same story, I suppose, it was my understanding on July

17    26th that that was the culmination of the negotiation

18    for a portion of the proposal from July 20th, from Dr.

19    Kayser.      It was the portion that was raised

20    specifically at issue by Mr. Stern, to say that the

21    company was short on cash, they could not afford those

22    type of cash payments at this time.                Specifically, he

23    said at this time.

24                  So as Mr. Kayser said, we talked with Mr.

25    Earley and he agreed that he would be the point person

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 1    to negotiate that cash settlement.                We agreed to kind

 2    of meet Tagnetics part way to say we could go ahead and

 3    come up with a schedule.            We continued down that path

 4    of, I won't say giving in, but kind of compromising on

 5    a number of things, to try to meet the goals that

 6    Tagnetics was looking for,            saying that they were short

 7    on cash and needed something more reasonable.

 8                  I do believe we came up with something very

 9    reasonable.       Nowhere in the initial response from the

10    July 20th proposal was there a specific call-out to say

11    these other terms that were required by Mr. Kayser's

12    proposal, that those were off the table.                  That was

13    never mentioned.         It was never mentioned in any of the

14    other following discussions.              I understand Mr. Stern

15    says we did not re-mention it.              He never brought -- was

16    -- brought any disagreement to it, so we didn't feel

17    that was a topic that needed to be fine-tuned,

18    especially at the 11th hour, when we were trying to be

19    cognizant of when the court was going to close, which

20    would obviate the need for us to come here for court.

21                  The only other point I guess I wanted to

22    include in here was that when -- we understood we would

23    see a draft agreement over the weekend, or by Monday,

24    and we didn't.        So on Tuesday I went ahead and

25    restated, summarized what we believed the agreement

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 1    should include, and I sent it to Mr. Stern.                   Previous

 2    testimony, he said he doesn't recall receiving that or

 3    doesn't recall reading that.             And then there was no

 4    response to that email.

 5                  We then got the draft agreement and in that

 6    response to the draft agreement, I pointed out the same

 7    issues.      I said, these are the things that are missing

 8    in this draft agreement, which we believe we had

 9    already agreed to.

10                  At that point, and in testimony the statement

11    was these were new claims, these were new requirements,

12    these were things that were out of scope from the

13    agreement.       And I guess my point is that the email of

14    that Tuesday, I believe it was July 30th, demonstrated

15    that we were under the understanding of what we had

16    agreed to on Friday, conclusive of the July 20th email

17    and the modifications going into July 26, and we again

18    stated that again, after receiving the draft agreement.

19                  There is one other point I wanted to make

20    about the draft agreement.             A draft, as my

21    understanding, means it's something that is welcome to

22    be modified or discussed.            And in my response, after

23    receiving the draft agreement, I even pointed out a

24    small fact, that the address that was listed for me in

25    that agreement was incorrect, and I had filed that

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 1    address change with the court many, many weeks before.

 2    In fact, months before.           And all the correspondence

 3    that I was receiving at home was going to the correct

 4    address.

 5                  And I see in the evidence or exhibits

 6    supplied to the court, that address still hasn't even

 7    been changed.        So in other words, the draft agreement

 8    has never been modified from the first day it was sent

 9    to us, even after we had raised issues with it, and

10    wanted to discuss changes to it.

11                  So I guess my concerns about this are that we

12    put forth a very good effort, I believe, to negotiate a

13    settlement in the hopes that Tagnetics could not only

14    have an option to succeed, but also pay their debts to

15    us, and that in response there really wasn't any

16    concerted effort to refine that agreement into

17    something that was acceptable.

18                  THE COURT:       Okay.    Thank you, Mr. Hager.           Are

19    there any exhibits which you wish to introduce, which

20    have not already been introduced and admitted?

21                  MR. HAGER:       If Exhibit 5 was already

22    introduced, I know we discussed it earlier.

23                  MR. EARLEY:       Yes.

24                  THE COURT:       So Exhibit 5 was admitted?

25                  MR. HAGER:       It was the one that we had to get

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 1    a new copy of.

 2                  THE COURT:       I know 3 and 4 were admitted.             3

 3    and 4 was admitted.          I do not believe 5 was admitted.

 4                  MR. HAGER:      Well, I'd like to admit 5,

 5    because that has that email exchange on the -- on July

 6    30th and past that.          The one that was recopied by the

 7    Court.

 8                  THE COURT:       Is there an objection, Mr. Stern,

 9    to --

10                  MR. STERN:       I just want to make sure I'm

11    understanding.        Are you referring to the July 30th

12    email, if I remember correctly?

13                  MR. HAGER:       Right.     We discussed the July

14    30th email, when you were on the stand.                  And that's

15    what we had to re-photocopy.

16                  MR. STERN:       If they want to admit that, I

17    have no objection to it being entered.                  I just wanted

18    to be clear.

19                  THE COURT:       Yeah, I want to be clear too.

20    Are we just talking -- was the July 30th email part of

21    a series of emails?

22                  MR. HAGER:       Yes.

23                  THE COURT:       So are you just seeking admission

24    of the July 30th email or the whole group?

25                  MR. HAGER:       I mean, I guess the whole group

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 1    of Exhibit 5, but most of Exhibit 5 is in your Exhibit

 2    A, I believe.

 3                  MR. STERN:       I think what happened, Your

 4    Honor, if I may, and obviously if I'm wrong, please

 5    looks like the printout here cuts off some of the

 6    earlier string, but it seems to allude to an earlier

 7    part of the string, that goes back to either my August

 8    14th       no, it couldn't be the August 14th email.                   I'm

 9    not really sure what it goes back to, but it looks like

10    there's a reference to some earlier emails that just

11    are not part of or printed out as the exhibit.                     And so

12    that's why I'm a little unclear as to what we're really

13    looking at.       Nevertheless, he's testified he sent me

14    that email.       I personally don't see it being relevant

15    to whether or not there was an agreement in place, but

16    I'm not going to really object to what -- to its

17    admission, if they want to get it admitted into

18    evidence.       If he's testifying that he sent it to me,

19    I'm not in a position to refute that.                 I don't think

20    it's relevant to whether or not we had an agreement on

21    July 26th.       So if he wants that admitted, I'm going to

22    say as long as it's the email on July 30th or after,

23    I'll agree to its admission.              Does that make sense?

24                  THE COURT:       Does it include emails prior to

25    July 30th?

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 1                  MR. HAGER:      Yes.     Exhibit 5 included from the

 2    beginning, July 20th, all the way through to,                   I

 3    believe, August 3rd or 5th or, no, past that, all the

 4    way through to the draft agreement and so on, and their

 5    Exhibit A didn't include that portion, past July 26th.

 6                  MR. STERN:      Your Honor, as I'm looking at it

 7    a little bit more closely, I don't want to be

 8    difficult, but the way this is printing out, it's got

 9    an August 1 email after July 30th email, so I'm not

10    really sure how this string is working and what's

11    really being included, so I                my colleague and I are

12    trying to -- Mr. Kracht and I are trying to look at

13    this and try to understand it.               It's an odd printout,

14    not the way emails normally go, in reverse

15    chronological order, and we're really having trouble

16    making sense out of this.            And honestly, I don't

17    remember a lot of this stuff, and so I'm at a little

18    bit of a disadvantage.

19                  MR. HAGER:       That's your correct address in

20    that statement.

21                  MR. STERN:       It does.      I mean -- it does have

22    my email address there and that is my email,

23    stern@kaganstern.com.           That is correct.         You know,

24    that's why I say -- let me confer with Mr. Kracht for a

25    minute.

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 1                  THE COURT:      Yeah, that's fine.

 2                  MR. STERN:      So as I've talked with Mr.

 3    Kracht, we're not going to object to the admission, as

 4    long as it's limited to the -- what we're seeing is

 5    only emails from July 30th afterwards.                  I'm not seeing

 6    anything prior to that.            We're not seeing --

 7                  THE COURT:       It appears to me the first one is

 8    July 19th, at least at the top of my Exhibit 5.

 9                  MR. HAGER:      Yeah, the emails prior to the

10    30th would be the 26th.

11                  MR. STERN:       Does this continue through with

12    the 26th, and then more after that?

13                  MR. HAGER:       Correct.

14                  MR. STERN:       If that's the case, then we're

15    not going to object, Your Honor.

16                  THE COURT:       Okay.    Then the Court will admit

17    Petitioning Creditors' Exhibit 5, which, from what I'm

18    reviewing, starts with a July 19th, 2019 email at 4:14

19    from,    I believe, Mr. Stern, yeah, to Ken, and then it

20    goes to emails through -- let's see here -- appears to

21    be Friday, August 2nd, I believe.                Sunday, August 4th.

22    Yeah, Sunday August 4th, I think is the last --

23                  MR. STERN:       That sounds correct, Your Honor,

24    is the last one in the string.

25                  THE COURT:       Okay.    Then the Petitioning

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 1    Creditors' Exhibit 5 is admitted.

 2                  (Petitioning Creditors' Exhibit 5 received

 3    into evidence. )

 4                  THE COURT:      Anything else you wish to -- any

 5    other exhibits you wish to admit?

 6                  MR. HAGER:      No.     No, Your Honor.

 7                  THE COURT:      Okay.     Is there any cross-

 8    examination, Mr. Stern or Mr. Kracht?

 9                  MR. STERN:      Just really briefly.

10                  CROSS-EXAMINATION OF JONATHAN HAGER

11    BY MR. STERN:

12    Q       I think, Mr. Hager, you, I think, acknowledged

13    the point on your testimony, I just want to be clear.

14    None of the emails on July 26th from you to me did you

15    make any specific reference to any of the contents of

16    the July 20th email from Mr. Kayser, correct?

17    A        I did not.

18                  MR. STERN:       No further questions, Your Honor.

19                  THE COURT:       Okay, thank you, Mr. Stern.             Any

20    redirect examination of yourself, Mr. Hager, based upon

21    that question?

22                  MR. HAGER:       No, Your Honor.

23                  THE COURT:       I just have the same questions.

24    Is there any other different testimony you would

25    provide or information you'd provide with respect to

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 1    the definition of liquidity event?

 2                  MR. HAGER:      No, consistent with what I saw in

 3    the draft agreement, I believe was what I                 also included

 4    in that email on July 30th, as out of our employment

 5    contracts.       I think the wording is similar or the same.

 6                  THE COURT:      And what about the stock

 7    ownership issue, what is your -- do you have any

 8    what's your belief that any impact of a July 26

 9    settlement, if there was a July 26 settlement, would

10    have on your stock or equity interest in Tagnetics?

11                  MR. HAGER:      My understanding, correspondence

12    or agreement on July 26th would not affect any stock

13    ownership.       Unfortunately, my stock ownership was

14    diluted quite far and the stock options, which I

15    understood would no longer be valid, but

16                  THE COURT:       Okay, thank you, Mr. Hager.             Any

17    additional questions based upon the Court's questions?

18                  MR. STERN:       No, Your Honor.

19                  MR. EARLEY:       No, Your Honor.

20                  THE COURT:       Either Mr. Kayser or Mr. Earley?

21    No.

22                  MR. EARLEY:       No .

23                  THE COURT:       Thank you, Mr. Hager.          Appreciate

24    your participation.          Any other evidence you wish to

25    present, Mr. Hager?

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 1                  MR. HAGER:      No, thank you.

 2                  THE COURT:      Thank you.       I believe that

 3    concludes everybody's cases; is that correct?

 4                  MR. EARLEY:       Yes, sir.

 5                  THE COURT:      Now, let's see.         It is -- what

 6    time is it?       I'm trying to wake up my computer here.

 7                  THE CLERK:       2:38, Your Honor.

 8                  THE COURT:       2:38.     Now, do you wish to make

 9    brief closing arguments or do you wish to waive closing

10    arguments?       Do you wish to file any post-trial brief or

11    memorandum in lieu of oral -- of arguments today?                      I'll

12    leave it all up to you.             You're the ones who have to

13    travel.      So --

14                  MR. STERN:       Your Honor, we'd be fine with

15    just brief closing arguments.              We want to just confirm

16    the exhibits that have been admitted.                 It's our

17    understanding that our Exhibits A through I have been

18    admitted, except for Exhibit E.

19                  THE COURT:       That's correct.

20                  MR. STERN:       And then for the Petitioning

21    Creditors, they've had 3 ' 4 and part of 5 admitted.

22                  THE COURT:       3'   4   and all of 5.

23                  MR. STERN:       All of 5.

24                  THE COURT:       3, 4 and 5' yes.

25                  MR. STERN:       Just wanted to make sure that

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 1    we're in agreement as to what the exhibits were.

 2                  THE COURT:      Yeah.

 3                  MR. STERN:       If I may then, Your Honor?

 4                  THE COURT:      Yes, you may.

 5                  MR. STERN:      Thank you.       Your Honor,

 6    notwithstanding the protestations to the contrary by

 7    the Petitioning Creditors, the email string is clear

 8    that they never included any reference or any notice

 9    that those terms of that July 20th email that they're

10    referring to carry through in any respect.

11                  To say that "See you in court on Monday"

12    means anything other than negotiations are terminated,

13    again, seems to defy logic.             And they had multiple

14    opportunities to reference those other terms that they

15    are now seeking to include.

16                  And it further defies logic, when you see the

17    term "full mutual releases, no carve-outs," or as you

18    saw in the email where it says "Total settlement

19    payment," they're referring to other loan payments.

20    That's either some other payment beyond the total

21    payment that's in there, or it's a carve-out or

22    exception to the full mutual releases.                  No matter how

23    you slice it, there's an inconsistency there with both

24    those terms.        That cannot be.

25                  And yet they repeated it not once, not twice,

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 1    but three times in those emails from Mr. Hager to me,

 2    on July 26th.        It's really clear that those terms are

 3    reflected on the July 26th email.               The settlement

 4    agreement that I drafted is consistent with that email.

 5    Even Mr. Earley's description of what a liquidity event

 6    was is consistent with the terms that were written in

 7    there.     Not even objecting to that.

 8                  But they're seeking additional payments that

 9    are beyond the total, capitalized total, that's

10    reflected in Exhibit A.            I'm sorry, Exhibit I.

11                  And they are also seeking additional payments

12    beyond what's reflected there, which would be some sort

13    of carve-out.        You cannot have a full mutual release,

14    no carve-outs, and then say but, later on, well,

15    there's this other payment, this other loan, this

16    licensing agreement.           That's inconsistent on its face.

17    They cannot claim ignorance of what that term means and

18    expect to be -- to negotiate and then say well, we

19    didn't understand that, later on.

20                  I repeated not once, not twice, but three

21    times in those email strings that we -- to seek legal

22    counsel for guidance.           And apparently they were having

23    the assistance of legal counsel behind the scenes, from

24    what they've testified to.

25                  To sit here in court today and rewrite the

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 1    plain meaning of what those terms are is just not

 2    right.     We have an agreement.           It's reflected in

 3    Exhibit B.       The terms that I wrote are consistent with

 4    what that email string says, and we believe the

 5    agreement should be enforced as it is written.

 6                  Thank you, Your Honor.

 7                  THE COURT:      Thank you, Mr. Stern.           Mr.

 8    Kayser, do you wish to present any closing argument?

 9                  DR. KAYSER:       Yes, Your Honor.         I think one

10    thing that's clear, regardless of all the testimony or

11    how you view it, is that we don't agree on an

12    agreement.       And we didn't realize it on Friday, when we

13    agreed to cancel the trial that we didn't agree, but I

14    think that was either intentionally misleading us or

15    planning on falling back on the fact that we are pro

16    se.

17                  In every negotiation, usually the lawyers do

18    the language of the agreement.              They don't get involved

19    in the actual negotiation of the terms of the

20    agreement, and they certainly don't use legal terms to

21    disguise what they really mean.               The word carve-out has

22    a different meaning in a hundred different contexts,

23    and we thought the context it was being discussed in

24    was based on our July 20th, and when he said no carve-

25    out, he meant no changes to those conditions.                    And we

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 1    don't have an agreement.            I request the Court go ahead

 2    with the trial.

 3                  THE COURT:      Okay.     Thank you, Mr. Kayser.

 4    Mr. Earley, do you wish to make a closing argument?

 5                  MR. EARLEY:       No, sir.

 6                  THE COURT:      Okay, thank you.         Mr. Hager, do

 7    you wish to make a closing argument?

 8                  MR. HAGER:       I guess just one brief one.             So

 9    there's been a lot of discussion about the use of this

10    word "full mutual release" and stating that we should

11    understand fully what that is.              And again, I just want

12    to point out the context where that was raised was on a

13    phone call between the four of us, where Tagnetics

14    wanted to reserve the right to, I guess, sue or

15    litigate against us, and not provide a release from our

16    employment and from their time on the Board.                    And it

17    was slightly heated discussion, I must say.                   And so at

18    the end of that discussion and the following conclusion

19    of that was that, fine, you'll get a full mutual

20    release if my client agrees to it.

21                  So our understanding was it was focused on

22    one party's ability to sue the other party over our

23    employment or our involvement, in their case, on the

24    Board.     It has now been stretched to say a full mutual

25    release means any other agreements that were ever done

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 1    between Tagnetics and any of the three prose parties

 2    would be wiped out, and that was never an

 3    understanding.        It was never clearly stated and that's

 4    the point that we've all been trying to make, that when

 5    that was introduced as part of the draft agreement,

 6    that took us by surprise, and that's when we said we

 7    don't feel we have an agreement on what those terms

 8    are.     That's all I wanted to --

 9                  THE COURT:       Thank you, Mr. Hager.          The Court

10    anticipates issuing an oral decision.                 We do that quite

11    a bit.     I can assure you we put as much time really

12    into our oral decisions as we do in our written

13    decisions, only we do save a little bit of time and are

14    able to get them up, our oral decisions done, quicker

15    than a formal written decision, simply because we're

16    not crossing all the T's and dotting the I's,                   in terms

17    of the way it appears on a piece of paper, and the oral

18    decisions I read.

19                  I'm not going to do that today.               We're going

20    to digest all this and I will render an oral decision.

21    I'm thinking like in a week or so, but I'm going to

22    leave that to -- and I'll do it by telephone.                    You

23    don't need to come back here or anything.                   I'll leave

24    it to Ms. Behnken and the rest of you to come up with a

25    date and time for me to render that oral decision.                      I'm

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 1    thinking like next Friday, if that works for people, or

 2    somewhere in that time frame.              We will need a few days

 3    to digest this, and get the oral decision put together

 4    in writing, so that I can be in a position to read it.

 5                  I also wanted to throw out the caveat, is I

 6    am now pretty much the only bankruptcy judge in Dayton,

 7    and we've got a lot of different things up in the air,

 8    and so I may need to have a little flexibility in

 9    exactly when we end up having that oral decision.                      But

10    if you need to get on the road, just touch base with

11    Ms. Behnken on Monday, or she'll touch base with you

12    and we'll get at least a tentative date and time set up

13    for me to render the oral decision on this.

14                  Any questions on that or anything else at

15    this point?

16                  MR. STERN:       No, Your Honor, that makes sense.

17    And Ms. Behnken, I guess we'll communicate next week

18    via email between the parties?

19                  THE CLERK:       I will contact everybody by

20    email.

21                  MR. STERN:       Thank you.

22                  THE COURT:       Anything from the Petitioning

23    Creditors?

24                  DR. KAYSER:       No.

25                  THE COURT:       I want to thank you, everybody.

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 1    You all were very professional, and for being -- I have

 2    to say, if you're not the best prose parties I've ever

 3    had in my courtroom, you're at the top of the list, so

 4    I congratulate you on it and commend you on that,

 5    commend Mr. Stern and Mr. Kracht for your professional

 6    presentations.        It's been very helpful to the Court.

 7    And, otherwise, we will talk to you when we're ready to

 8    render the oral decision.            Thank you.

 9                  THE CLERK:      All rise.       Court is adjourned.

10                  (End of proceedings at 2:48 p.m.)

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                                     CERTIFICATE




               I, Marc Eppler, a Notary Public, within and for

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      Court.
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